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          New Hope Family Services, Inc. v. Poole




                                                         In the
                          United States Court of Appeals
                                            for the Second Circuit


                                                    AUGUST TERM 2019


                                                     No. 19-1715-cv


                                       NEW HOPE FAMILY SERVICES, INC.,
                                            Plaintiff-Appellant,

                                                            v.


           SHEILA J. POOLE, in her official capacity as Acting Commissioner for
          the Office of Children and Family Services for the State of New York,
                                                    Defendant-Appellee.


                          On Appeal from the United States District Court
                                   for the Northern District of New York



                                           ARGUED: NOVEMBER 13, 2019
                                                DECIDED: JULY 21, 2020




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 Before: CABRANES, RAGGI, Circuit Judges, KORMAN, District Judge. *
                              _____ ______

       Plaintiff, New Hope Family Services, Inc., is a voluntary,
 privately funded Christian ministry devoted to providing adoption
 services and authorized to do so in the State of New York for more
 than 50 years. New Hope professes that, consistent with its religious
 beliefs, it cannot recommend adoptions by unmarried or same-sex
 couples. It does not itself disapprove such couples; rather, it refers
 them to other adoption agencies.         In 2018, the State’s Office of
 Children and Family Services (“OCFS”) informed New Hope that its
 policy respecting unmarried and same-sex couples violates the anti-
 discrimination mandate of N.Y. Comp. Codes R. & Regs. tit. 18,
 § 421.3(d). OCFS advised New Hope that it either had to change its
 policy or close its operation. Rather than do either, New Hope sued
 OCFS in the United States District Court for the Northern District of
 New York (D’Agostino, J.) for violations of its First and Fourteenth
 Amendment rights. It now appeals from a judgment dismissing its
 complaint for failure to state a claim and denying its motion for a
 preliminary injunction as moot. New Hope argues that the district
 court erred in concluding that it failed to state plausible claims for
 violations of its rights of Free Exercise of Religion and Free Speech
 and, therefore, in rejecting its preliminary injunction motion as moot.



 *Judge Edward R. Korman, of the United States District Court for the Eastern
 District of New York, sitting by designation.




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 New Hope urges this court both to reinstate these claims and to grant
 it preliminary injunctive relief.

        We agree that New Hope’s Free Exercise and Free Speech
 claims should not have been dismissed at the pleadings stage and,
 therefore, that its preliminary injunction motion is not moot. We
 remand the case to the district court for further proceedings consistent
 with this opinion, including whether to grant New Hope a
 preliminary injunction preventing OCFS from mandating the closure
 of New Hope’s adoption operation while the merits of this case are
 litigated.   Pending the district court’s ruling on that preliminary
 injunction motion, the narrow injunction granted by this court shall
 remain in effect.

        REVERSED IN PART, VACATED IN PART, AND REMANDED.




                           ROGER G. BROOKS (Jeana J. Hallock, Alliance
                           Defending Freedom, Scottsdale, Arizona,
                           John J. Bursch, Alliance Defending
                           Freedom, Washington, District of Columbia,
                           Christopher P. Schandevel, Alliance
                           Defending Freedom, Ashburn, Virginia,
                           Robert E. Genant, Genant Law Office,
                           Mexico, New York, on the brief), Alliance
                           Defending Freedom, Scottsdale, Arizona, for
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                           LAURA ETLINGER, Assistant Solicitor General
                           (Barbara D. Underwood, Solicitor General,




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                          Andrea Oser, Deputy Solicitor General, on
                          the brief) for Letitia James, Attorney General
                          of the State of New York, Albany, New
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                          Lori H. Windham, Nicholas R. Reaves, for
                          Amicus Curiae The Becket Fund for Religious
                          Liberty, Washington, District of Columbia.

                          Gregory Dolin, University of Baltimore
                          School of Law, Baltimore, Maryland, for
                          Amici Curiae The Jewish Coalition for
                          Religious Liberty, Agudath Israel of
                          America, The Rabbinical Alliance of
                          America, and The Coalition for Jewish
                          Values.

                          Geoffrey T. Blackwell, American Atheists,
                          Inc., Washington, District of Columbia,
                          Monica L. Miller, American Humanist
                          Association, Washington, District of
                          Columbia, Nicholas J. Little, Center for
                          Inquiry, Washington, District of Columbia,
                          Rebecca Markert, Freedom From Religion
                          Foundation, Madison, Wisconsin, for Amici
                          Curiae American Atheists, Inc., American
                          Humanist Association, Center for Inquiry,
                          and Freedom From Religion Foundation.

                          Cathren Cohen, Lambda Legal Defense and
                          Education Fund, Inc., Los Angeles,
                          California, Currey Cook, Karen L. Loewy,
                          Lambda Legal Defense and Education




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                               Fund, Inc., New York, New York, Richard B.
                               Katskee, Kenneth D. Upton, Jr., Carmen N.
                               Green, Patrick Grubel, Americans United
                               for Separation of Church and State,
                               Washington, District of Columbia, for Amici
                               Curiae Civil Rights Organizations.



 REENA RAGGI, Circuit Judge:

        An important question of law animates this case: What is the
 proper relationship between the First Amendment—specifically, its
 guarantees of free exercise of religion and free speech—and laws
 protecting against various forms of discrimination? The question has
 arisen most recently when religious organizations, like Plaintiff here,
 seek some exemption from laws prohibiting discrimination on the
 basis of sexual orientation, arguing that such laws compel them to
 speak and behave contrary to the dictates of their consciences. The
 answer to this question—whether, in particular circumstances, anti-
 discrimination      laws     violate    First    Amendment         rights—may
 profoundly affect our system of ordered liberty. 1




 1 See Thomas I. Emerson, Toward a General Theory of the First Amendment, 72 YALE
 L.J. 877, 880 (1963) (observing that “freedom of expression” is “an essential
 element in a good society” that cannot be regulated or restricted even to achieve
 “other or more inclusive ends—such as virtue, justice, equality . . . ”; these must
 be pursued by “counter-expression and the regulation or control of conduct which
 is not expression”).




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       But at this early stage in the case, we need not answer that
 ultimate question. Instead, we need decide only whether Plaintiff has
 stated a plausible claim for the violation of its First Amendment
 rights, affirming the district court if we conclude that Plaintiff has not
 stated a plausible claim, or reversing if we conclude that Plaintiff has.

       Plaintiff, New Hope Family Services, Inc. (“New Hope”), is a
 voluntary, privately funded Christian ministry located in Syracuse,
 New York. Its avowed mission is to assist women with unplanned
 pregnancies and to provide temporary foster care and adoptive
 homes for children whose birth parents cannot care for them. In its
 more than 50 years of operation, New Hope has placed approximately
 1,000 children with adoptive parents. There appears to be no question
 that each of these placements has been in the best interests of the
 adopted child.    While New Hope operates under a certificate of
 incorporation authorizing it to provide adoption services in New
 York State, it has no contract with any government entity, and it does
 not receive any public funding.

       At issue on this appeal is whether New Hope will be permitted
 to continue its adoption ministry in New York State. That comes into
 question because New Hope’s ministry is informed by its religious
 belief in the biblical model of marriage as one man married for life to
 one woman. New Hope asserts that, consistent with this belief, it
 cannot recommend adoption by unmarried or same-sex couples
 because it does not think such placements are in the best interests of
 a child. Accordingly, it does not itself work with such couples but,
 rather, refers them to other adoption agencies. In 2018, officials of the




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 New York State Office of Children and Family Services (“OCFS”)
 informed New Hope that such a policy violates a 2013 state regulation
 prohibiting discrimination against applicants for adoption services on
 the basis of “race, creed, color, national origin, age, sex, sexual
 orientation, gender identity or expression, marital status, religion, or
 disability . . . .” N.Y. Comp. Codes R. & Regs. tit. 18 (“18 NYCRR”),
 § 421.3(d) (emphases added). OCFS officials told New Hope that it
 either had to change its policy to conform to the regulation or close its
 adoption operation.

        Unwilling to do either, New Hope initiated this action in the
 United States District Court for the Northern District of New York
 (Mae A. D’Agostino, Judge). Pursuant to 42 U.S.C. § 1983, New Hope
 charged OCFS’s Acting Commissioner Sheila J. Poole with violating
 its rights under the Constitution’s Free Exercise of Religion, Free
 Speech, and Equal Protection Clauses, see U.S. CONST. amends. I, XIV,
 and requested declaratory and injunctive relief. 2 On cross-motions by
 New Hope for a preliminary injunction and by OCFS for dismissal,
 the district court granted dismissal pursuant to Fed. R. Civ. P.
 12(b)(6), concluding that New Hope failed to plead any plausible
 constitutional claims. Consequently, the court denied New Hope’s
 preliminary injunction motion as moot. See New Hope Family Servs.
 Inc. v. Poole, 387 F. Supp. 3d 194 (N.D.N.Y. 2019). New Hope appeals
 from so much of the district court judgment, entered on May 16, 2019,



 2Because Acting Commissioner Poole is sued only in her official capacity, in this
 opinion we refer to defendant as the State agency Poole heads, i.e., “OCFS.”




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 as dismissed its Free Exercise and Free Speech claims and rejected its
 preliminary injunction motion.

        For the reasons stated in this opinion, we reverse the challenged
 dismissal judgment, vacate the denial of New Hope’s motion for a
 preliminary injunction, and remand the case to the district court for
 further proceedings consistent with               this opinion,       including
 consideration of whether to grant a preliminary injunction.

        Background

        In recounting the background to this case, we follow the
 standard applicable to the review of motions to dismiss, i.e., we accept
 all factual allegations pleaded by New Hope in its complaint as true,
 and we draw all reasonable inferences in its favor. See, e.g., DiFolco v.
 MSNBC Cable L.L.C., 622 F.3d 104, 110–11 (2d Cir. 2010).

        A.     New York Adoption Law

        Private charities—many of them religiously affiliated—have
 long played an important role in caring for orphans and abandoned
 children in New York. 3 Adoption in New York, however, is now


 3 For example, in 1806, a group of New York City women—including Mrs.
 Alexander Hamilton—founded the Orphan Asylum Society, the city’s first private
 charity devoted to caring for orphaned children who would otherwise have been
 consigned to public almshouses. See 1 CHILDREN AND YOUTH IN AMERICA: A
 DOCUMENTARY HISTORY 280 (Robert H. Bremner et al., eds., 1970); Mary Kelley,
 Book Review, 90 J. OF AM. HIST. 1023, 1023 (2003) (reviewing ANNE M. BOYLAN,
 THE ORIGINS OF WOMEN’S ACTIVISM: NEW YORK AND BOSTON, 1797–1840 (2002)).
 In 1817, Catholic nuns affiliated with the Sisters of Charity began caring for New




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 “solely the creature of . . . statute,” Matter of Jacob, 86 N.Y.2d 651, 657
 (1995) (internal quotation marks omitted), and requires “a judicial
 proceeding” for a person (or couple) to “take[] another person into
 the relation of child and thereby acquire[] the rights and incur[] the
 responsibilities of parent in respect of such other person,” N.Y. Dom.
 Rel. Law § 110.

        Since first enacted in 1873, New York’s adoption law has had
 as its primary purpose ensuring the “best interest[s]” of the child to
 be adopted. Matter of Jacob, 86 N.Y.2d at 658–59. But if that objective
 has remained constant, not so the factors informing it. Over a century
 and a half, New York’s adoption law has been amended
 “innumerable times,” such that its many requirements and
 prohibitions—both        those    established      by    statute    and    those

 York City orphans at the St. Patrick’s Asylum. See ROBERT ERNST, IMMIGRANT LIFE
 IN NEW YORK CITY, 1825–1863, 35 (1949). The Hebrew Orphan Asylum was
 established in Manhattan in 1822. See REPORT OF THE PRESIDENT, THE HEBREW
 BENEVOLENT AND ORPHAN ASYLUM SOCIETY OF THE CITY OF NEW YORK,
 PROCEEDINGS OF THE SEVENTY-FOURTH ANNUAL MEETING 15–16 (1897). The
 Catholic Orphan Society of Brooklyn was founded in 1826. See MARY J. OATES,
 THE CATHOLIC PHILANTHROPIC TRADITION IN AMERICA 6 (1995). New York’s
 Episcopal Church created an Orphan Home and Asylum in New York City in 1851.
 See COMMITTEE ON THE HISTORY OF CHILD-SAVING WORK, NATIONAL CONFERENCE
 ON SOCIAL WELFARE, HISTORY OF CHILD-SAVING IN THE UNITED STATES 158 (1893).
 New York’s two best known institutions devoted to caring for orphaned,
 abandoned, and otherwise needy children, the Children’s Aid Society and the
 New York Foundling Hospital, were created, respectively, in 1853 by private
 philanthropists and in 1869 by the Sisters of Charity. See Joseph M. Hawes,
 Creating New Families: The History of Adoption in the United States, 32 REVIEWS IN
 AM. HIST. 90, 91 (2004) (book review); MARTIN GOTTLIEB, THE FOUNDLING 11–12
 (2001).




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  propounded by regulation—have aptly been described as “a complex
  and not entirely reconcilable patchwork.” Id. at 659. Nevertheless,
  because some understanding of that law is necessary to discuss New
  Hope’s claims, we begin by discussing relevant statutory and
  regulatory provisions, starting with those pertaining to authorized
  adoption agencies.

                1.      Authorized Agencies

         Adoption services in New York can only be provided by
  “authorized agencies,” i.e., entities incorporated or organized under
  New York law with corporate or legal authority “to care for, to place
  out or to board out children.” N.Y. Soc. Serv. Law §§ 371(10)(a),
  374(2). 4 More than 130 authorized agencies presently operate in New
  York. Fifty-eight such agencies are public, each operating as a unit of
  one of the State’s social services districts. More than 70 authorized
  agencies are private, non-profit organizations that voluntarily
  provide adoption services. Some do so pursuant to contracts with
  local social services districts and with government funding; others,
  such as New Hope, operate independently.

         The need for adoption services in New York, whether public or
  private, is undeniably great. In fiscal year 2017, more than 27,000




  4Children are “placed out” for adoption; they are “boarded out” for foster care.
  See N.Y. Soc. Serv. Law § 371(12), (14).




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  children in the State were in foster care. Some 4,400 were awaiting
  adoption. Nevertheless, only 1,729 were actually adopted that year.

        To facilitate adoptions, state law empowers authorized
  agencies to receive legal custody of children whose parents cannot
  care for them. Id. § 384; 18 NYCRR § 421.6. Authorized agencies can
  then board such children in foster homes or place them in prospective
  adoptive homes based on the agencies’ assessment of the children’s
  “best interests.” Most relevant here, authorized agency approval, or
  consent, is required to finalize the adoption of any child placed by
  that agency. See N.Y. Dom. Rel. Law §§ 111(1)(f), 113(1).

        A thicket of regulations applies to an authorized agency’s
  placement of a child for adoption. These regulations detail numerous
  areas for agency consideration, but they comprise no mere
  quantitative checklist.   Rather, most regulations, by their nature,
  entrust authorized agencies with considerable discretion in
  determining the best interests of a child. For example, agencies are
  instructed that in “[m]ak[ing] placement decisions,” a consideration
  of the child’s “best interests” shall “includ[e], but [is] not limited to”
  three factors. 18 NYCRR § 421.18(d). First is “the appropriateness of
  placement in terms of the age of the child and of the adoptive
  parent(s).” Id. § 421.18(d)(1). “Appropriateness” is hardly a matter of
  mathematical calculation; rather, it calls for the exercise of judgment.
  That same conclusion obtains for the second factor: “the physical and
  emotional needs of the child in relation to the characteristics,
  capacities, strengths and weaknesses of the adoptive parent(s).” Id.
  § 421.18(d)(2). Judgment is also called for by the third factor, which




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  requires placing sibling children together absent documented
  findings, made by the agency in consultation with identified
  professionals, that such placement would inure to the detriment of
  one or more of the children. See id. § 421.18(d)(3).

        Judgment and discretion also necessarily inform the “adoption
  study process” that must precede any placement. Id. § 421.15. This is
  evident from the litany of topics that an authorized agency is expected
  to discuss in “explor[ing] each applicant’s ability to be an adoptive
  parent.” Id. § 421.15(d). Among these are the “characteristics and
  needs of children available for adoption”; principles of child
  development; the applicant’s “reasons” for wishing to adopt;
  “understanding of the adoptive parent role”; “psychological
  readiness to assume responsibility for a child”; and “self-assessment”
  of “capacity to provide a child with a stable and meaningful
  relationship.” Id. The agency is further expected to explore other
  household members’ “attitudes . . . about adoption,” and “the[ir]
  awareness of the impact that adoptive responsibilities have upon
  family life.” Id. Again, none of these matters is quantifiable; rather,
  they call for qualitative assessments by authorized agencies.

        Agency judgment will also have to inform the required
  assessment of a prospective adoptive parent’s,

        (1)    capacity to give and receive affection;
        (2)    ability to provide for a child’s physical and
               emotional needs;
        (3)    ability to accept the intrinsic worth of a child, to
               respect and share his past, to understand the




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                   meaning of separation he has experienced, and to
                   have realistic expectations and goals;
            (4)    flexibility and ability to change;
            (5)    ability to cope with problems, stress and
                   frustration;
            (6)    feelings about parenting an adopted child and the
                   ability to make a commitment to a child placed in
                   the home; and
            (7)    ability to use community resources to strengthen
                   and enrich family functioning.

  Id. § 421.16(a).

            While this sampling of applicable regulations indicates a
  largely holistic approach to identifying the best interests of an
  adopted child, regulations single out certain factors that should not
  be considered or, at least, not be determinative. For example, a
  prospective adoptive parent cannot “be rejected on the basis of low
  income, or because of receipt of income maintenance payments.” Id.
  § 421.16(j). Nor can rejection be based on marital status, subject to
  certain caveats. Id. § 421.16(d). 5 “Race, ethnic group, and religion”
  also cannot be a basis for rejection, id. § 421.16(i), though here too

  5   18 NYCRR § 421.16(d) states with respect to “[m]arital status”:

        Agencies must not consider marital status in their acceptance or
        rejection of applicants. However, one married partner may not adopt
        without the other unless one partner is living separate and apart from
        his or her spouse pursuant to a legally recognizable separation
        agreement or decree of separation, or one partner has been or will be
        living separate and apart from his or her spouse for a period of three
        years or more prior to the commencement of the adoption proceeding.




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  other statutory and regulatory provisions appear to qualify the
  prohibition. 6

         At the same time, regulations instruct an agency to reject
  adoption applicants who fail to cooperate in the study process. See id.
  § 421.15(g)(1). Rejection is also warranted if the agency finds an
  applicant “physically” or “emotionally” “incapable of caring for an
  adopted child,” id. § 421.15(g)(2)(i)–(ii), or if the agency concludes that
  “approval would not be in the best interests of children awaiting
  adoptions,” id. § 421.15(g)(2)(iii)—both matters requiring an exercise
  of judgment.        Rejection, however, triggers certain procedural
  safeguards, including the opportunity for a hearing before OCFS. See
  id. § 421.15(g)(3)–(8).

         On the other hand, if, after completion of the required study,
  an authorized agency decides to approve adoption by a particular
  applicant or applicants—thereby concluding that adoption by that
  applicant or applicants is “in the best interests of children awaiting
  adoptions,” id. § 421.15(g)(2)(iii)—the agency creates “a written

  6See 18 NYCRR § 421.18(c) (requiring authorized agency to place child in adoptive
  home “as similar to and compatible with his or her religious background as
  possible with particular recognition that section 373(3) of the Social Services Law
  requires a court, when practicable, to give custody through adoption only to
  persons of the same religious faith as that of the child”); id. § 421.18(d)(2)
  (permitting authorized agency, when making placement decisions, to “consider
  the cultural, ethnic or racial background of the child and the capacity of the
  adoptive parent to meet the needs of the child with such a background as one of a
  number of factors used to determine best interests,” but only where “[r]ace, color
  or national origin of the child or the adoptive parent . . . can be demonstrated to
  relate to the specific needs of an individual child”).




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  summary of the study findings and activities, including significant
  characteristics of . . . family members, the family interaction, the
  family’s relationship to other persons and the community, the
  family’s child rearing practices and experiences, and any other
  material needed to describe the family for adoption purposes,” and
  provides that summary “to workers in the agency . . . responsible for
  making placement decisions about children,” id. § 421.15(e)(1). The
  agency works with the approved prospective parents to identify an
  adoptive child to be placed with them, “[m]ak[ing] placement
  decisions on the basis of the best interests of th[at] child.”                 Id.
  § 421.18(d). The agency and prospective parents then submit to a
  court a verified petition for adoption and an adoptive placement
  agreement, see N.Y. Dom. Rel. Law § 112(2)–(3), (5), and the court
  decides whether to accept the agency’s approval and to order
  adoption, id. §§ 113, 114. Generally, “no order of adoption shall be
  made until [the adoptive] child has resided with the adoptive parents
  for at least three months.” Id. § 112(6).

         New York law authorizes the Commissioner of OCFS to enforce
  laws and rules pertaining to adoption.             See N.Y. Soc. Serv. Law
  § 34(3)(e). 7 By law, OCFS is authorized to visit, inspect, and supervise
  authorized adoption agencies.            See id. § 371(10). Where OCFS
  determines that an agency has placed or boarded a child (1) “for

  7  It is undisputed on this appeal that this enforcement authority, originally
  conferred on the Commissioner of the New York State Department of Social
  Services, see N.Y. Soc. Serv. Law § 34(3)(e), now rests with OCFS, a branch of the
  New York State Department of Family Assistance, the successor agency to the
  Department of Social Services, see 1997 N.Y. Laws 2922.




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  purposes of gain,” (2) “without due inquiry as to the character and
  reputation of the person with whom such child is placed,” (3) “in such
  manner that such child is subjected to cruel or improper treatment or
  neglect or immoral surroundings,” or (4) “in such manner that the
  religious faith of the child is not preserved and protected as provided
  [by law],” OCFS is specifically authorized, upon notice and an
  opportunity to be heard, to “issue an order prohibiting such an
  authorized agency . . . from thereafter placing out or boarding out any
  child.” Id. § 385(1).

               2.     18 NYCRR § 421.3(d)

        We now turn to the regulation at issue in this case, 18 NYCRR
  § 421.3(d), beginning with some background to its pronouncement.

        As the New York Court of Appeals has observed, the “pattern
  of amendments” to New York adoption law over the last 75 years
  “evidences a successive expansion of the categories of persons
  entitled to adopt.” Matter of Jacob, 86 N.Y.2d at 660–61. Consistent
  with a general purpose to assure that “as many children as possible
  are adopted into suitable family situations,” certain of these
  amendments reflect “fundamental changes that have taken place in
  the makeup of the family.” Id. at 661 (internal quotation marks
  omitted).

        As relevant here, until 2010, New York’s Domestic Relations
  Law permitted only “[a]n adult unmarried person or an adult
  husband and his adult wife together” to adopt a child. N.Y. Dom. Rel.
  Law § 110 (2009). This law did not prohibit a homosexual person from




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  adopting as a single “adult unmarried person.” See Matter of Jacob, 86
  N.Y.2d at 662 (stating that “New York does not prohibit adoption by
  homosexuals,” and observing that administrative regulation forbids
  denial of agency adoption on basis of homosexuality 8). But it was
  understood not to permit an unmarried couple, whatever their sexual
  orientation, jointly to adopt a child.

         That conclusion was eroded, however, by court rulings
  beginning with the 1995 decision in Matter of Jacob, 86 N.Y.2d 651. In
  that case, the New York Court of Appeals construed § 110’s “adult
  unmarried person” phrase to allow the same-sex partner of a child’s
  biological mother to adopt the child without the mother surrendering
  her rights, thereby effectively allowing a same-sex couple to become
  the child’s parents. See id. at 660–62, 665–68. A decade later, the
  Fourth Department construed Jacob’s reasoning to compel the
  conclusion that an unmarried, same-sex couple—neither member of
  which was the child’s biological parent—could jointly petition for
  adoption of a child rather than being required to file separately. See
  In re Adoption of Carolyn B., 6 A.D.3d 67, 68–70, 774 N.Y.S.2d 227 (4th
  Dep’t 2004).




  8The referenced regulation stated that adoption “[a]pplicants shall not be rejected
  solely on the basis of homosexuality.” 18 NYCRR § 421.16(h)(2) (2009). Rather,
  “[a] decision to accept or reject when homosexuality is at issue shall be made on
  the basis of individual factors as explored and found in the adoption study process
  as it relates to the best interests of adoptive children.” Id. This regulation,
  promulgated in or about 1981, remained in effect until 2013, when it was
  supplanted by 18 NYCRR § 421.3(d), discussed infra at 19–21.




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        Mindful of these decisions, the New York State legislature, in
  2010, amended § 110 to state that “[an] adult unmarried person, an
  adult married couple together, or any two unmarried adult intimate
  partners together may adopt another person.” N.Y. Dom. Rel. Law
  § 110. In a signing statement accompanying his approval of the bill,
  then-Governor David Paterson observed that the amendment
  expanded qualified adoption applicants to include same-sex couples,
  “mak[ing] absolutely clear a principle that has already been
  established by the courts, and that ensures fairness and equal
  treatment to families that are ready, willing and able to provide a
  child with a loving home . . . includ[ing] same-sex couples, regardless
  of whether they are married.” Gov. Mem., New York Bill Jacket, 2010
  S.B. 1523, ch. 509 (internal citation omitted).    At the same time,
  however, the Governor stated that “since the statute is permissive, it
  would allow for such adoptions without compelling any agency to
  alter its present policies.” Id. In sum, he characterized amended § 110
  as “a wise, just and compassionate measure that expands the rights of
  New Yorkers, without in any way treading on the views of any citizen
  or organization.” Id.

        The new law went into effect on September 17, 2010, and
  prompted OCFS to issue two “informational letters” to authorized
  agencies.   The first letter, dated January 11, 2011, and entitled
  “Adoption by Two Unmarried Adult Intimate Partners,” stated that
  amended § 110 “codifies . . . court decisions that authorize unmarried
  persons to adopt a child together,” but “does not change or alter the
  standards currently in place for the approval of an individual as an




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  adoptive parent.” OCFS Informational Ltr., 11-OCFS-INF-01. A copy
  of the Governor’s quoted signing statement was attached to this letter.

        The second letter, dated July 11, 2011, and entitled
  “Clarification of Adoption Study Criteria Related to Length of
  Marriage and Sexual Orientation,” addressed the effect of amended
  § 110 on two existing OCFS regulations: 18 NYCRR § 421.16(e)
  (prohibiting rejection of applicants for adoption study on basis of
  “length of time they have been married, provided that time is at least
  one year”) and 18 NYCRR § 421.16(h)(2) (prohibiting rejection of
  applicants “solely on the basis of homosexuality”). As to the first
  regulation, OCFS instructed authorized agencies that the amended
  statute no longer permitted rejecting an adoption applicant “solely on
  the basis that the length of marriage is less than one year.” OCFS
  Informational Ltr., 11-OCFS-INF-05. As to the second regulation,
  OCFS stated that its purpose “is to prohibit discrimination based on
  sexual orientation in the adoption study assessment process,” and
  that “OCFS cannot contemplate any case where the issue of sexual
  orientation would be a legitimate basis, whether in whole or in part,
  to deny the application of a person to be an adoptive parent.” Id.

        Two years later, in November 2013, OCFS replaced both
  regulations with the provision here at issue: 18 NYCRR § 421.3(d). See




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  35 N.Y. Reg. 3 (Nov. 6, 2013). 9            It requires authorized adoption
  agencies,

         [to] prohibit discrimination and harassment against
         applicants for adoption services on the basis of race,
         creed, color, national origin, age, sex, sexual orientation,
         gender identity or expression, marital status, religion, or
         disability, and[] [to] take reasonable steps to prevent
         such discrimination or harassment by staff and
         volunteers,    promptly      investigate     incidents    of
         discrimination and harassment, and take reasonable and
         appropriate corrective or disciplinary action when such
         incidents occur.

  18 NYCRR § 421.3(d).

          In promulgating this provision, OCFS stated that the
  regulation would “promote fairness and equality in the child welfare
  adoption program by eliminating archaic regulatory language that
  implies the sexual orientation of gay, lesbian and bisexual prospective
  adoptive parents—but not of heterosexual prospective adoptive




  918 NYCRR § 421 concerns “Standards of Practice for Adoption Services.” Section
  421.3 lists “General Requirements.” At the time of the proposed amendment, the
  provision required adoption agencies (a) to have written policies and procedures;
  (b) to make provisions for those policies to be available and provide them to
  parents, adoptive applicants, and legal guardians; and (c) to maintain appropriate
  records.




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  parents—is relevant to evaluating their appropriateness as adoptive
  parents.” 35 N.Y. Reg. 4 (Aug. 7, 2013) (proposed rulemaking). 10

         B.      New Hope’s Adoption Services

         New Hope’s Christian ministry was conceived by clergyman
  Clinton H. Tasker who, in 1958, sensed a “call of God” to care for
  women facing unplanned pregnancies and for their children.11
  Compl. ¶ 40. Tasker’s idea was realized in 1965, when Evangelical
  Family Service, Inc.—New Hope’s predecessor agency—sought and
  obtained from New York’s Board of Social Welfare a two-year
  certificate of incorporation authorizing it “to accept legal custody and
  guardianship of children; to provide protective service for children;
  to provide foster care service to child[ren] and unwed mother[s]; to
  place children for adoption; and [to] function in complete cooperation
  with all existing social welfare agencies.” J. App’x at 66; see N.Y. Soc.


  10In opposing New Hope’s motion for a preliminary injunction in this litigation,
  OCFS assigned three other purposes to 18 NYCRR § 421.3(d): (1) it helps “provide
  a broad and diverse pool of adoptive parents” and “maximizes the number of
  prospective adoptive parents who may be assessed”; (2) it “seeks to prevent the
  trauma and social harm caused by discrimination against [LGBTQ] people” and
  “provides support and affirmation to LGBTQ youth awaiting an adoptive
  placement”; and (3) it reinforces “the State[’s] . . . strong interest in preventing
  discrimination in the provision of government services.” J. App’x at 168–69
  (McCarthy Decl.).
  11 New Hope traces the long tradition of Christian adoption ministries to the
  following biblical passage: “Religion that God our Father accepts as pure and
  faultless is this: to look after orphans and widows in their distress.” James 1:27
  (quoted in Compl. ¶ 35).




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  Serv. Law § 371(10)(a). Two years later, in 1967, New York made the
  certificate “perpetual.” J. App’x at 73–76. 12 Thus, when in a 2008
  letter, OCFS—as successor to the Board of Social Welfare—traced
  New Hope’s authorization history, it confirmed that New Hope’s
  “authority to place children for adoption and to perform other
  adoption services, including home studies . . . in New York is
  perpetual.” Id. at 79.

          New Hope maintains that its “Christian faith and religious
  beliefs motivate and permeate its mission and all of its activities.”
  Compl. ¶ 52.        In defending dismissal, OCFS does not contend
  otherwise, nor does it challenge the sincerity of New Hope’s religious
  beliefs.

          Consistent with its religious identity, New Hope requires all
  board members, staff, and volunteers to “be in agreement with and
  sign New Hope’s statement of faith, . . . be in agreement with and
  supportive of [its] religious mission, and . . . conduct themselves
  consistent with Christian faith and belief.” Id. ¶ 53. Moreover, “to
  scrupulously ensure its autonomy to operate in accordance with its
  religious beliefs, New Hope accepts no government funding.” Id.
  ¶ 51.




  12See N.Y. Bus. Corp. Law § 202(a)(1) (“Each corporation, subject to any limitations
  provided in this chapter or any other statute of this state or its certificate of
  incorporation, shall have power in furtherance of its purposes . . . [t]o have
  perpetual duration.”).




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         New Hope asserts that its religious beliefs prompt it to conduct
  its adoption ministry in such a way as to convey a “system of values
  about life, marriage, family and sexuality to both birthparents and
  adoptive parents.” Id. ¶ 270. Thus, when prospective parents attend
  an initial orientation session, “New Hope . . . open[s] the meeting with
  prayer, . . . provid[es] information about the organization’s history
  and religious mission,” and uses “scripture passages” to explain that
  “children are to be valued as gifts from God.” Id. ¶ 105.

         New Hope also uses prayer and religious literature in
  conducting the second, “home study,” step of the adoption process.
  See id. ¶¶ 109, 111–112. During this study, a New Hope caseworker
  “explore[s] the prospective adoptive parents’ experience with
  children, family support, parenting philosophy, ability to parent a
  child of a different race or culture, faith and religious practice, and
  family dynamics, including interviews of any children in the home.”
  Id. ¶ 114.

         At the third step of the process, a New Hope caseworker
  explores in still more detail the prospective parents’ “strengths and
  weaknesses,” their “family dynamics, thoughts on discipline and
  affection, work responsibilities, marital stability . . . , mental-health
  history, financial stability, and parenting philosophy.” Id. ¶ 117.
  Married couples are interviewed together and separately to
  determine the “intimacy and strength of the marriage” in order to
  ensure that their home “will be a safe, stable environment for the
  [adopted] child.” Id. ¶¶ 116, 118, 120.




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        Following this session, the caseworker and New Hope’s
  Executive Director together review the entire case file to decide
  whether to approve or disapprove applicants as prospective adoptive
  parents based on “the best interest of any child who may be placed in
  the home.” Id. ¶ 121.

        Approved adoptive parents then participate in the fourth step
  of the process where, among other things, New Hope instructs them
  as to how to prepare their “profiles.”             New Hope shows
  approximately five such profiles to a birthmother for her to “select the
  adoptive family with whom she feels comfortable entrusting her
  child.” Id. ¶¶ 66, 97, 125. New Hope states that “[a]ll” birthmothers
  with whom it has worked “have been able to find a family with whom
  they were comfortable placing their child for adoption from the
  profiles” thus provided. Id. ¶ 99.

        At the fourth step, New Hope also asks approved adoptive
  parents whether they are willing to participate in “open adoptions,”
  i.e., adoptions where birth parents maintain some contact with the
  adopted child pursuant to a “Contact Agreement” facilitated by New
  Hope until the child turns 18.        Because almost all New Hope’s
  adoptions are “open,” its involvement in adoptions thus continues
  well after a court finalizes transfer of a child’s custody. Id. ¶¶ 78–81.

        Finalization does not occur, however, until after a child spends
  no fewer than three months, and sometimes as much as a year, living
  with approved adoptive parents under New Hope’s supervision.
  During this period, New Hope maintains legal custody of the child




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  and conducts regular visits to ensure that the child is being well cared
  for and to assess the degree of attachment developing between the
  adoptive parents and the child. See id. ¶¶ 133–138.

        New Hope’s “field reports” about the placement, together with
  its home study report, are then finalized and notarized and become
  its “official recommendation of the adoptive family for the adoption
  of the specific child.” Id. ¶¶ 139–141.

        C.     New Hope’s Religious Beliefs and 18 NYCRR § 421.3(d)

        The particular religious belief subscribed to by New Hope and
  relevant to this appeal is that “[t]he biblical model for the family as
  set out in the Bible—one man married to one woman for life for their
  mutual benefit and the benefit of their children—is the ideal and
  healthiest family structure for mankind and specifically for the
  upbringing of children.” Id. ¶ 56. Because of this belief, New Hope
  asserts that it “will not recommend or place children with unmarried
  couples or same-sex couples as adoptive parents.” Id. ¶ 153. It does
  not believe that such a placement is in a child’s best interests.

        New Hope maintains that its religious views about marriage do
  not otherwise limit its ministry. In providing pregnancy counseling,
  New Hope routinely works with unmarried women and does so
  without regard to their sexual orientation. But, as to adoption, New
  Hope’s religious views about marriage are formalized in a “Special
  Circumstances” policy, which states,




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       If the person inquiring to adopt is single . . . [t]he Executive
       Director [of New Hope] will talk with them to discern if they
       are truly single or if they are living together without the
       benefit of marriage. . . . [B]ecause New Hope is a Christian
       Ministry it will not place children with those who are living
       together without the benefit of marriage.

       If the person inquiring to adopt is in a marriage with a same
       sex partner . . . [t]he Executive Director will . . . explain that
       because New Hope is a Christian Ministry, we do not place
       children with same sex couples[].

  Id. ¶ 154. 13

         Nevertheless, mindful that its religious beliefs are not
  universal, New Hope does not itself “reject” unmarried or same-sex
  couples as adoptive parents. See supra at 14 (discussing rejection of
  adoption applicants).         Rather, it effectively recuses itself from
  considering their adoption applications, referring them at the outset
  to “the appropriate county social services office or another
  [authorized adoption services] provider.” Id. ¶ 156. New Hope
  asserts on information and belief that “no same-sex couple or
  unmarried couple who has inquired with New Hope about adoption
  has ever complained to OCFS about how New Hope handled their
  inquiry.” Id. Nor is there anything in the present record indicating




  13While it appears that New Hope’s religious view of marriage has remained
  constant throughout its history, it is not clear from the record exactly when this
  policy was committed to writing.




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  that New Hope’s policy has prevented any same-sex or unmarried
  couple wishing to adopt from doing so.

         OCFS appears not to have questioned New Hope’s practice
  respecting unmarried and same-sex couples until 2018 when,
  pursuant to what OCFS characterized as a “new policy” implemented
  that year, it conducted a “comprehensive on-site review[] of each
  private provider’s procedures.”            Id. ¶ 182. 14   In advance of a
  September 6, 2018 site review of New Hope, OCFS Permanency
  Specialist Suzanne Colligan requested, and New Hope’s then-Acting
  Executive Director Judith Geyer provided, a copy of New Hope’s
  policies and procedures manual, which included the above-quoted
  Special Circumstances policy.

         Approximately one month after the site visit, on October 1,
  2018, Colligan sent Geyer a review letter issued by OCFS’s Regional
  Director for Child Welfare and Community Services. That letter
  commends New Hope for “a number of strengths” in providing
  adoption services, specifically, (1) “the strong emphasis [placed] on
  assisting the birth parents in making an informed decision for their
  newborn,” (2) “providing them time to make the [adoption]
  decision,” and—perhaps most notably for purposes of this appeal—
  (3) “a supportive and detailed adoptive family selection process.” Id.,
  Exh. 6. It identifies only three areas for follow-up: (1) “[i]mmediate
  implementation” of OCFS’s “Foster/Adoptive Home Certification


  14The record does not indicate the impetus for this new policy or detail how it
  departs from previous practice.




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  Approval Process,” (2) better procurement of health information
  pertaining to adoptive families, the adoptee, or birth parent; and (3)
  New Hope’s role and limitations regarding the exchange of
  information pertinent to surrender of custody. Id. The review letter
  makes no mention of New Hope’s Special Circumstances policy or of
  18 NYCRR § 421.3(d).

         A week later, however, in an October 9, 2018 telephone call to
  Geyer, Colligan stated that she had read New Hope’s manual, and
  that its Special Circumstances policy violated § 421.3(d). Colligan
  presented New Hope with two options: comply with the regulation
  by agreeing to place children with unmarried and same-sex couples,
  or “choos[e] to close.” Id. ¶¶ 188–190. Geyer responded that New
  Hope was unwilling to violate its religious beliefs by placing children
  with unmarried or same-sex couples, and that it would “never choose
  to close.” Id. ¶¶ 191, 193. Rather, OCFS would be “forcing” New
  Hope to close in violation of its religious freedom. Id. ¶ 193. Colligan
  told Geyer that “[s]ome Christian ministries have decided to
  compromise and stay open.” Id. ¶ 192 (brackets in original). 15



  15 As evidence that OCFS forced religious adoption agencies that did not
  compromise their beliefs to close, New Hope points to the 2018 disappearance of
  a number of religious authorized adoption agencies from OCFS’s website. See
  Compl. ¶ 202. It also observes that in a Buffalo News report about Catholic Charities
  Buffalo ending its 95-year history of adoption and foster care services, an OCFS
  spokeswoman is quoted as saying, “[d]iscrimination of any kind is illegal and in
  this case OCFS will vigorously enforce the laws designed to protect the rights of
  children and same sex couples. In New York State, we welcome all families who
  are ready to provide loving and nurturing homes to foster or adoptive children.




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         On October 11, 2018, Colligan advised Geyer that New Hope
  would be receiving a letter requesting a formal written response to
  the choices it had been given. The referenced letter from Laura Velez,
  Deputy Commissioner of Child Welfare and Community Services,
  states that New Hope’s “policy pertaining to not placing ‘children
  with those who are living together without the benefit of marriage’ or
  ‘same sex couples’ violates Title 18 NYCRR § 421.3, and is
  discriminatory and impermissible.” Id., Exh. 7. The letter requests
  that “within 15 days of receipt of this letter,” New Hope state in
  writing whether it will or will not “revise the policy so as to comply
  with the above-cited regulation” and, thus, “continue the existing
  adoption program.” Id. It advises that should New Hope “fail to
  bring the policy into compliance with the regulation, OCFS will be
  unable to approve continuation of [New Hope’s] current adoption
  program and [New Hope] will be required to submit a close-out plan
  for the adoption program.” Id.

         D.      Procedural History

         Rather than accept either of OCFS’s options, New Hope
  commenced this action on December 6, 2018. On December 12, 2018,
  it moved preliminarily to enjoin OCFS from forcing the closure of
  New Hope’s adoption services. OCFS opposed the motion, and on




  There is no place for providers that choose not to follow the law.” Id. ¶ 204
  (quoting Stephen T. Watson & Harold McNeil, Catholic Charities Ending Foster,
  Adoption Programs Over Same-Sex Marriage Rule, BUFFALO NEWS, August 23, 2018).




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  January 14, 2019, moved to dismiss New Hope’s complaint pursuant
  to Fed. R. Civ. P. 12(b)(6).

          Following oral argument, the district court granted OCFS’s
  motion to dismiss and denied New Hope’s motion for a preliminary
  injunction as moot. See New Hope Family Servs., Inc. v. Poole, 387 F.
  Supp. 3d 194. The district court ruled that New Hope failed to state a
  plausible Free Exercise claim because 18 NYCRR § 421.3(d) is “[o]n its
  face . . . generally applicable and . . . neutral,” and no evidence
  indicated that the regulation “was drafted or enacted with the object
  to infringe upon or restrict practices because of their religious
  motivation.” Id. at 213–14 (internal quotation marks omitted). The
  district court ruled that New Hope failed to state a plausible Free
  Speech claim because § 421.3(d) “simply do[es] not compel speech,”
  or only compels “government[] speech.” Id. at 217. Insofar as New
  Hope also cast its Free Speech claim as one of “expressive
  association,” the district court ruled that § 421.3(d) caused only “slight
  impairment to New Hope’s expressive activity,” which, in any event,
  was outweighed by “the state’s compelling interest in prohibiting the
  discrimination at issue.” Id. at 219–20. 16



  16In granting dismissal, the district court observed that “OCFS does not contend
  that New Hope is not acting in the best interests of the children” it places for
  adoption, New Hope Family Servs. v. Poole, 387 F. Supp. 3d at 224, and expressed
  regret that the parties had not themselves been able to reach some accommodation:

       Until recent events, the parties have had a fruitful relationship; a
       relationship that has benefitted New York’s children in immeasurable
       ways. For this reason, the Court would prefer that the parties seek out




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         New Hope timely filed this appeal, moving for a preliminary
  injunction that would allow it, pending a final ruling by this court, to
  continue servicing pending adoptions subject to New Hope’s
  agreement not to accept any new adoption applications. This court
  granted such an injunction on November 4, 2019. On June 18, 2020,
  New Hope moved for this court to expand its injunction pending
  appeal to allow New Hope to accept new adoption applications.

         Discussion

         A.      Motion To Dismiss

                 1.     Standard of Review

         We review de novo the dismissal of a complaint for failure to
  state a claim. See DiFolco v. MSNBC Cable L.L.C., 622 F.3d at 110. In
  doing so, we “accept[] all factual allegations in the complaint as true,
  and draw[] all reasonable inferences in the plaintiff’s favor.” Shomo
  v. City of New York, 579 F.3d 176, 183 (2d Cir. 2009) (internal quotation
  marks omitted); accord DiFolco v. MSNBC Cable L.L.C., 622 F.3d at 111
  (“When there are well-pleaded factual allegations, a court should
  assume their veracity and then determine whether they plausibly give
  rise to an entitlement to relief.” (emphasis in original) (quoting
  Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009))).



     some compromise to their current dispute without further judicial
     intervention . . . to avoid what may appear . . . to be harsh legal results.

  Id. at 225 (internal quotation marks omitted).




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               2.     Free Exercise Claim

        New Hope argues that the district court erred in concluding
  that it failed to plead a plausible Free Exercise claim against OCFS.
  Specifically, New Hope challenges the district court’s determination
  that OCFS was simply enforcing a neutral and generally applicable
  anti-discrimination regulation when it insisted that New Hope either
  agree to approve unmarried and same-sex applicants for adoption or
  close its adoption service. For reasons explained herein, we conclude
  that the dismissal of New Hope’s Free Exercise claim was premature.
  The pleadings allege that OCFS’s actions preclude New Hope from
  pursuing its adoption ministry consistent with its religious beliefs.
  Even if such intrusion on the exercise of religion would not violate the
  First Amendment if compelled by a valid and neutral law (or
  regulation) of general application, the pleadings here, when viewed
  in the light most favorable to New Hope, do not permit a court to
  conclude, as a matter of law, that OCFS’s actions in promulgating and
  enforcing the regulation at issue were neutral and not informed by
  hostility toward certain religious beliefs.

                      a.    Applicable Legal Principles

        To explain that conclusion, we start with the First Amendment,
  which famously states that “Congress shall make no law respecting
  an establishment of religion, or preventing the free exercise thereof
  . . . .” U.S. CONST. amend. I. The Fourteenth Amendment extends the
  protections of these Establishment and Free Exercise Clauses against




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  state and local governments. See U.S. CONST. amend. XIV; Cantwell v.
  Connecticut, 310 U.S. 296, 303 (1940).

           As the Supreme Court reiterated only last term, “[t]he Religion
  Clauses of the Constitution aim to foster a society in which people of
  all beliefs can live together harmoniously,” not a society devoid of
  religious beliefs and symbols. American Legion v. Am. Humanist Assoc.,
  139 S. Ct. 2067, 2074 (2019); see also County of Allegheny v. ACLU, 492
  U.S. 573, 623 (1989) (O’Connor, J., concurring in part and concurring
  in the judgment) (observing that First Amendment does not require
  courts     to   “sweep    away    all    government   recognition   and
  acknowledgment of the role of religion”). The Free Exercise Clause,
  in particular, guarantees to all Americans the “right to believe and
  profess whatever religious doctrine [they] desire[],” even doctrines
  out of favor with a majority of fellow citizens. Employment Div. v.
  Smith, 494 U.S. 872, 877 (1990). Thus, it has long been the rule—as
  famously pronounced by Justice Jackson—that no government
  “official, high or petty, can prescribe what shall be orthodox in
  politics, nationalism, religion, or other matters of opinion.” West Va.
  Bd. of Educ. v. Barnette, 319 U.S. 624, 642 (1943); accord Masterpiece
  Cakeshop v. Colo. Civil Rights Comm’n, 138 S. Ct. 1719, 1731 (2018).
  Rather, “[t]he Constitution commits government itself to religious
  tolerance, and upon even slight suspicion that proposals for state
  intervention stem from animosity to religion or distrust of its
  practices, all officials must pause to remember their own high duty to
  the Constitution and to the rights it secures.” Masterpiece Cakeshop v.




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  Colo. Civil Rights Comm’n, 138 S. Ct. at 1731 (internal quotation marks
  omitted).

        These principles are particularly relevant to beliefs about
  family and marriage, where society’s views have sometimes proved
  more fluid than religion’s. As pertinent here, the Supreme Court
  recently traced how society’s view of same-sex marriage has evolved
  over the last forty years, such that what was once prosecuted as a
  criminal offense is now recognized as a fundamental right.         See
  Obergefell v. Hodges, 135 S. Ct. 2584, 2596–605 (2015). Nevertheless,
  some religions maintain that same-sex marriage is morally wrong,
  just as some religions view unmarried co-habitation, remarriage after
  divorce, or conception without marriage as morally wrong
  notwithstanding society’s general acceptance of such conduct. The
  Supreme Court has declined to fault such religious views about
  marriage, observing that “[m]any who deem same-sex marriage to be
  wrong reach that conclusion based on decent and honorable religious
  or philosophical premises, and neither they nor their beliefs are
  disparaged here.” Id. at 2602. Indeed, the Court has suggested that
  differing secular and religious views in this area should be allowed to
  coexist. This is evident from the fact that, at the same time that the
  Court ruled that the Constitution does not permit government to
  prohibit same-sex marriage, it “emphasized that religions, and those
  who adhere to religious doctrines, may continue to advocate with
  utmost, sincere conviction that, by divine precepts, same-sex
  marriage should not be condoned.”         Id. at 2607.   Indeed, such
  advocacy is constitutionally protected:




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        The First Amendment ensures that religious
        organizations and persons are given proper protection as
        they seek to teach the principles that are so fulfilling and
        so central to their lives and faiths, and to their own deep
        aspirations to continue the family structure they have
        long revered.

  Id. The Court reiterated the point the next year: “[R]eligious and
  philosophical objections to gay marriage are protected views and in
  some instances protected forms of expression.” Masterpiece Cakeshop
  v. Colo. Civil Rights Comm’n, 138 S. Ct. at 1727; cf. Bostock v. Clayton
  Cty., 140 S. Ct. 1731, 1753–54 (2020) (construing Title VII of Civil
  Rights Act of 1964, 42           U.S.C. § 2000e–2(a)(1),      to   prohibit
  discrimination on the basis of sexual orientation, but recognizing fear
  that compliance “may require some employers to violate their
  religious convictions” and expressing “deep[] concern[] with
  preserving the promise of the free exercise of religion enshrined in
  our Constitution”).

        But if some accommodation on this matter is the Court’s
  expectation, delineating constitutional boundaries is challenging. As
  the Chief Justice observed in Obergefell, anticipating the very case now
  before us, “[h]ard questions arise when people of faith exercise
  religion in ways that may be seen to conflict with the new right to
  same-sex marriage—when, for example, . . . a religious adoption
  agency declines to place children with same-sex married couples.”
  Obergefell v. Hodges, 135 S. Ct. at 2525–26 (Roberts, C.J., joined by Scalia
  and Thomas, JJ., dissenting).




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        In confronting those hard questions here, we are mindful that
  the Supreme Court has recognized that the exercise of religion can
  involve not only belief and expression, but also “physical acts,” such
  as “assembling with others for a worship service, participating in
  sacramental use of bread and wine, proselytizing, abstaining from
  certain foods or certain modes of transportation.” Employment Div. v.
  Smith, 494 U.S. at 877. The Free Exercise Clause does not permit
  government to “ban such acts or abstentions only when they are
  engaged in for religious reasons, or only because of the religious belief
  that they display,” id., at least not without showing that the ban “is
  justified by a compelling interest and is narrowly tailored to advance
  that interest,” Church of the Lukumi Babalu Aye, Inc. v. City of Hialeah
  (“Lukumi v. Hialeah”), 508 U.S. 520, 533 (1993).      But the law has
  permitted government to avoid showing a compelling interest and
  narrow tailoring if the challenged ban on a religious practice is
  required by a valid and neutral law of general applicability.
  Employment Div. v. Smith, 494 U.S. at 879 (stating that Free Exercise
  Clause does “not relieve an individual of the obligation to comply
  with a valid and neutral law of general applicability on the ground
  that the law proscribes (or prescribes) conduct that his religion
  prescribes (or proscribes)” (internal quotation marks omitted)).

        Almost from its pronouncement, Smith’s construction of the
  Free Exercise Clause has prompted criticism. See, e.g., Michael W.
  McConnell, The Origins and Historical Understanding of Free Exercise of
  Religion, 103 HARV. L. REV. 1409, 1420 & n.43 (1990); see also Kennedy v.
  Bremerton Sch. Dist., 139 S. Ct. 634, 637 (2019) (Alito, J., joined by




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  Thomas, Gorsuch, and Kavanaugh, JJ., concurring in denial of
  certiorari) (observing that case did not ask Court to revisit Employment
  Division v. Smith, which “drastically cut back on the protection
  provided by the Free Exercise Clause”). The Supreme Court has
  recently agreed to revisit its decision in Smith, with argument
  expected some time next term. See Fulton v. City of Philadelphia, 140 S.
  Ct. 1104 (Feb. 24, 2020) (mem.). We need not delay deciding this case,
  however, to see if Fulton yields a more protective Free Exercise
  standard than Smith because we conclude that New Hope’s Free
  Exercise claim should not have been dismissed even under the Smith
  standard as presently applied. A court construing the pleadings in
  the light most favorable to New Hope could not conclude as a matter
  of law that OCFS was simply applying a valid neutral law of general
  application when it instructed New Hope either to agree to approve
  unmarried and same-sex couples as adoptive parents or to close its
  50-year adoption ministry.

        The Supreme Court has instructed that a law is not neutral if its
  object “is to infringe upon or restrict practices because of their
  religious motivation.”     Lukumi v. Hialeah, 508 U.S. at 533.        To
  determine the object of a law, a court “begin[s] with its text, for the
  minimum requirement of neutrality is that a law not discriminate on
  its face” against religion. Id. Like the district court, we conclude that
  the regulation here at issue, 18 NYCRR § 421.3(d), does not on its face
  discriminate against religion because its prohibitions apply equally to
  all adoption services, both secular and religious.




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        But facial neutrality is only the first, and by no means the
  determinative, step in a Free Exercise inquiry. See Lukumi v. Hialeah,
  508 U.S. at 534. Mindful that government hostility to religion can be
  “masked, as well as overt,” a court must proceed to a second step of
  inquiry to identify even those “subtle departures from neutrality,” or
  “covert suppression of particular religious beliefs” that will be not be
  tolerated unless supported by a compelling interest and narrow
  tailoring. Id. at 534, 546 (internal quotation marks omitted); accord
  Masterpiece Cakeshop v. Colo. Civil Rights Comm’n, 138 S. Ct. at 1731. At
  this second step, a court must “survey meticulously” the totality of
  the evidence, “both direct and circumstantial.” It must consider “the
  historical background of the decision under challenge, the specific
  series of events leading to the enactment or official policy in question,
  and    the     legislative   or   administrative   history,   including
  contemporaneous        statements    made     by   members      of   the
  decisionmaking body.”        Lukumi v. Hialeah, 508 U.S. at 534, 540
  (internal quotation marks omitted); accord Masterpiece Cakeshop v. Colo.
  Civil Rights Comm’n, 138 S. Ct. at 1731. It must also carefully consider
  “the effect of a law in its real operation,” which “is strong evidence of
  its object.” Lukumi v. Hialeah, 508 U.S. at 535.

        Applying those principles here, we conclude that the pleadings
  give rise to a sufficient “suspicion” of religious animosity to warrant
  “pause” for discovery before dismissing New Hope’s claim as
  implausible. Masterpiece Cakeshop v. Colo. Civil Rights Comm’n, 138 S.
  Ct. at 1731.




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                     b.    The District Court’s Cited Authorities Do
                           Not Support Dismissal

        New Hope maintains that the following pleadings indicate that
  18 NYCRR § 421.3(d), as promulgated and enforced, is not neutral and
  generally applicable.

        (1) Amended Dom. Rel. Law § 110—the law OCFS contends 18
           NYCRR § 421.3(d) “is consistent with” and “implements,”
           Appellee Br. at 6–7—is permissive, not mandatory.
           Moreover, New York’s then-Governor, in signing the law,
           specifically stated that it “allow[s] for . . . adoptions [by
           unmarried and same-sex couples] without compelling any
           agency to alter its present policies.” Compl. ¶ 7.

        (2) Initially, OCFS took the position that amended § 110 “does
           not change or alter the standards currently in place for the
           approval of an individual as an adoptive parent.” Id. ¶ 162.

        (3) OCFS then shifted its position.    Despite the Governor’s
           statement that the amended statute did not require agencies
           to “alter [their] present policies,” OCFS asserted that it
           “cannot contemplate any case where the issue of sexual
           orientation would be a legitimate basis, whether in whole or
           in part, to deny the application of a person to be an adoptive
           parent.” Id. ¶ 164.

        (4) During the rulemaking process preceding promulgation of
           18 NYCRR § 421.3(d), OCFS stated that the regulation was
           needed to “eliminate archaic regulatory language, which




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           implies that the sexual orientation of gay, lesbian and
           bisexual prospective parents . . . is relevant to evaluating
           their appropriateness as adoptive parents.”           Id. ¶ 166
           (emphasis in original).

        (5) When New Hope told OCFS that its comply-or-close order
           violated New Hope’s freedom of religion, OCFS told the
           agency that “some Christian ministries have decided to
           compromise and stay open.” Id. ¶ 192 (brackets removed).

        (6) Since § 421.3(d) took effect, “several voluntary faith-based
           authorized [adoption] agencies that were listed on OCFS’[s]
           website in January of 2018” and that “share similar beliefs”
           to New Hope’s “have been removed by OCFS from that
           posted list.” These include “several Catholic providers, a
           Jewish provider, an LDS provider, and a Muslim provider.”
           Id. ¶¶ 202–203.

        (7) In a 2018 news report about the closure of a Christian
           adoption ministry operating for 95 years in Buffalo, New
           York, an OCFS spokeswoman is quoted stating that
           “[d]iscrimination of any kind is illegal . . . . There is no place
           for providers that choose not to follow the law.” Id. ¶ 204.

        (8) The State’s statutory and regulatory scheme governing
           adoption “provides exemptions for secular, nonreligious
           purposes” and “allow[s] adoption providers to consider
           protected characteristics when making placements,” while




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            imposing an “absolute bar” against consideration of sexual
            orientation. Id. ¶¶ 248–250.

        In concluding that these allegations were insufficient to state a
  plausible Free Exercise claim, the district court observed that the
  allegations did not indicate “[the] type of hostility or bias
  demonstrated in Masterpiece Cakeshop or Lukumi.” New Hope Family
  Servs., Inc. v. Poole, 387 F. Supp. 3d at 214. Instead, the district court
  thought that New Hope’s pleadings “more closely align with Fulton
  [v. City of Philadelphia, 922 F.3d 140 (3d Cir. 2019), cert. granted, 140 S.
  Ct. 1104, see supra at 37], where the Third Circuit found that the
  plaintiff was unlikely to succeed on its claim because the record
  demonstrated that the defendant respected the plaintiff’s sincerely
  held beliefs while enforcing the anti-discrimination provision at
  issue.” Id.

        We cannot agree. At first glance, Fulton may appear similar to
  this case in that, there, a religious foster care agency, Catholic Social
  Services (“CSS”), claimed that a government entity, the City of
  Philadelphia, violated its Free Exercise and Free Speech rights by
  insisting that CSS not discriminate against same-sex couples as a
  condition of its continuing to provide foster care services. But, in fact,
  this case differs from Fulton in ways important to our review.

        First, the relationship between CSS and Philadelphia was
  contractual and compensatory. See Fulton v. City of Philadelphia, 922
  F.3d at 147–48 (discussing contract between Philadelphia and CSS,
  which provided for City to compensate CSS for certain services at per




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  diem rate for each child placed in foster care). By contrast, while New
  Hope is authorized by New York to provide adoption services, it does
  not do so pursuant to any government contract, nor does it receive
  any government funding. Thus, whatever authority a government
  entity might claim to limit the free exercise of religion by those who
  become its agents or accept its funding, no such authority can be
  claimed here.

         Second, in Fulton, the issue under review was not the
  sufficiency of the pleadings, but the denial of CSS’s motion for a
  preliminary injunction. To secure such relief, CSS had to demonstrate
  a reasonable likelihood of success on its Free Exercise claim, a heavier
  burden than New Hope bears in pleading the plausible claim
  necessary to avoid dismissal. See id. at 151–52. The Third Circuit
  agreed with the district court that CSS failed to carry its burden “at
  the preliminary injunction stage” under the Smith standard. Id. at
  158–59. Whether or not this ruling survives Supreme Court review,
  what is important here is that in making it, the Fulton courts were not
  required to accept all CSS’s allegations as true or to draw all
  reasonable inferences in its favor. Compare id. at 152 (setting forth
  preliminary injunction standard), with Shomo v. City of New York, 579
  F.3d at 183 (stating motion to dismiss standard). Nowhere in Fulton
  does the Third Circuit suggest that CSS’s allegations, if assumed true,
  were insufficient to state a Free Exercise claim. 17



  17This case also differs from Fulton in that OCFS does not identify New Hope as a
  “public accommodation,” see Fulton v. City of Philadelphia, 320 F. Supp. 3d 661, 678–




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         As for Masterpiece Cakeshop and Lukumi, the Supreme Court
  there discussed Free Exercise violations based on fully developed
  evidentiary records. See Masterpiece Cakeshop v. Colo. Civil Rights
  Comm’n, 138 S. Ct. at 1726 (reviewing rulings made on cross-motions
  for summary judgment); Lukumi v. Hialeah, 508 U.S. at 528 (reviewing
  findings of fact and conclusions of law following nine-day bench
  trial). Where, as here, the parties have not yet commenced discovery,
  New Hope can hardly be required to plead facts as specific and
  detailed as those referenced in Masterpiece Cakeshop and Lukumi to
  avoid dismissal.

                        c.     The Pleadings Raise a Plausible Suspicion
                               of Hostility to Certain Religious Beliefs

         In any event, New Hope’s pleadings easily give rise to the
  “slight suspicion” of religious animosity that the Supreme Court, in
  both Lukumi and Masterpiece Cakeshop, indicated could raise
  constitutional concern. Lukumi v. Hialeah, 508 U.S. at 547; Masterpiece
  Cakeshop v. Colo. Civil Rights Comm’n, 138 S. Ct. at 1731. In explaining
  this conclusion, we are obliged to discuss certain pleadings
  individually, but it is the totality that precludes dismissal.

         First, suspicion is raised by an apparent disconnect between 18
  NYCRR § 421.3(d) and the law it purports to implement, N.Y. Dom.
  Rel. Law § 110. As New Hope correctly observes, the statutory text is
  permissive, expanding the persons who “may adopt” to include


  79 (E.D. Pa. 2018) (identifying CSS foster care services as such), aff’d on other
  grounds, 922 F.3d 140, a point we discuss further infra at 46.




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  unmarried and same-sex couples. It contains no mandate requiring
  adoption agencies to approve adoption by any persons. Moreover,
  the wording choice appears to have been deliberate, and even
  intended to allow for accommodation of religious beliefs. This can be
  inferred from § 110’s enactment history. In a letter to the Governor
  that is included in the bill jacket, the New York State Catholic
  Conference voiced concern that the new legislation might be
  construed to require faith-based adoption agencies “to facilitate
  adoption for same-sex [couples] in violation of our religious beliefs
  and faith.” Ltr. from N.Y.S. Catholic Conf. to Governor (July 29, 2010),
  New York Bill Jacket, 2010 S.B. 1523, ch. 509. The letter urged an
  amendment to ensure that authorization certifications were not
  denied or revoked on that ground. See id. The enacted law contained
  no such amendment, but the Governor, in his signing statement,
  sought to assuage concern. He explained that the statutory text was
  permissive, i.e., it allowed adoptions by more persons than before, but
  “without compelling any agency to alter its present policies.” Gov. Mem.,
  New York Bill Jacket, 2010 S.B. 1523, ch. 509 (emphasis added).
  Indeed, the Governor stated that the law was “a wise, just and
  compassionate measure that expands the rights of New Yorkers,
  without in any way treading on the views of any citizen or organization.”
  Id. (emphasis added). In short, the statutory text and history, viewed
  in the light most favorable to New Hope, can reasonably be construed
  to have alerted OCFS that what the legislature and executive intended
  in amending § 110 was to expand the class of potential adoptive
  parents to include unmarried and same-sex couples, but with




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  reasonable accommodation for religious adoption agencies whose
  faiths compelled narrower views. 18

         Section 421.3(d) is not consistent with this intent. Its language
  is not permissive, but mandatory. It unqualifiedly prohibits any
  “discrimination and harassment” against adoption applicants based
  on “race, creed, color, national origin, age, sex, sexual orientation,
  gender identity or expression, marital status, religion, or disability.”
  18 NYCRR § 421.3(d) (emphases added). Of course, OCFS has wide
  discretion in promulgating regulations setting forth the “standards
  and procedures to be followed by authorized agencies in evaluating”
  adoption applicants. N.Y. Soc. Serv. Law § 372-e(2). And a generally
  applicable anti-discrimination regulation will usually be understood
  to indicate neutrality rather than religious animosity. But where, as
  here, a regulation purports to implement a statute whose text and
  history signal an intent for some accommodation of religious beliefs,
  further inquiry is warranted to determine if agency actions affording
  no such accommodation are grounded in any animosity to the
  particular religious beliefs at issue.

         Second, a suspicion of religious animosity is further raised here
  by the fact that for five years after 18 NYCRR § 421.3(d) was
  promulgated—from 2013 until 2018—OCFS voiced no objection to the
  practice New Hope appears to have adopted to avoid being seen as


  18Gubernatorial signing statements are routinely relied on in construing the reach
  of New York statutes. See, e.g., People v. Cagle, 7 N.Y.3d 647, 651 (2006); Greer v.
  Wing, 95 N.Y.2d 676, 680–81 (2001).




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  “discriminat[ing]” against unmarried or same-sex couples wishing to
  adopt, i.e., New Hope recused itself from considering such couples’
  adoption applications and referred them to other agencies whose
  consideration would not be limited by New Hope’s particular
  religious beliefs about family and marriage.

        To be sure, New Hope’s recusal policy meant that unmarried
  and same-sex couples could not obtain adoption services from New
  Hope. We need not here consider what discrimination concerns this
  might raise if New Hope qualified as a public accommodation under
  New York law, see N.Y. Exec. Law §§ 292(9), 296, because OCFS does
  not attempt formally to denominate it as such. This is not surprising.
  New Hope’s adoption services are not easily analogized to traditional
  public accommodations such as barbershops that provide haircuts,
  accounting firms that offer tax advice, or bakeshops that make
  wedding cakes. And children awaiting adoption hardly equate to a
  commodity, even if their “supply” in New York (unfortunately)
  greatly exceeds “demand.” Moreover, it appears that an authorized
  agency offers adoption services not only for the benefit of a public
  clientele (prospective parents) but, also, so that the agency itself can
  render a judgment: whether it is in the best interests of a child to be
  adopted by a particular applicant or applicants. Recusal is a familiar
  and accepted way for decisionmakers to step aside when they
  recognize that personal interest, predispositions, or even religious
  beliefs might unduly influence (or appear to influence) their ability to
  render impartial judgment. Thus, when an agency such as New Hope
  knows that, although New York law allows adoption by unmarried




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  and same-sex couples, its religious beliefs will not permit it to
  conclude that adoption by such a couple is in a child’s best interests,
  recusal and referral might be understood as a means to avoid its
  religious views adversely informing its assessment of a couple’s
  particular adoption application. 19 The pleadings suggest that New
  Hope’s recusal still leaves scores of other authorized agencies
  available to consider the referred adoption applications. And New
  Hope’s recusal would not seem to diminish the number of children
  available for adoption. 20

         This is not to suggest that no legal concerns can arise when a
  decisionmaker uses recusal to avoid rendering judgments for
  members of a protected class. We here conclude simply that, in the
  circumstances described, OCFS’s abrupt—and as yet unexplained—
  2018 change of mind on the matter of whether New Hope’s recusal-
  and-referral practice adequately avoided violating 18 NYCRR

  19See generally Ward v. Polite, 667 F.3d 727, 735 (6th Cir. 2012) (reinstating Free
  Exercise and Free Speech claims of graduate student dismissed from counseling
  program because, based on her religious views on homosexuality, she had sought
  to refer certain gay and lesbian clients to other counselors, observing, “[t]he point
  of the referral request was to avoid imposing her values on gay and lesbian clients”
  (emphasis in original)).
  20In its letter brief opposing New Hope’s motion to expand this court’s injunction
  pending appeal, OCFS asserts that “each time New Hope accepts a new placement
  request, there are fewer adoption opportunities available elsewhere,” particularly
  for newborns—the focus of New Hope’s ministry—for whom there is “especially
  high demand.” Appellee Ltr. Br., ECF Doc. No. 199, at 7. OCFS offers no evidence
  to support this conclusion but will have the opportunity to do so on remand
  during discovery.




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  § 421.3(d), coupled with its insistence that New Hope agree to
  approve unmarried and same-sex couples as adoptive parents or shut
  down a 50-year adoption ministry, raise a sufficient suspicion of
  hostility toward New Hope’s particular religious beliefs to warrant
  further inquiry. See Lukumi v. Hialeah, 508 U.S. at 538 (stating that
  where law “proscribe[s] more religious conduct than is necessary to
  achieve [its] stated ends[,] [i]t is not unreasonable to infer” that such
  a law “seeks not to effectuate the stated governmental interests, but
  to suppress the conduct because of its religious motivation”). 21

          Third, even before discovery, New Hope points to some
  statements by OCFS personnel that are similar to statements in
  Masterpiece Cakeshop that the Supreme Court interpreted as arguably
  evincing religious hostility. Notably, New Hope asserts that when it
  invoked religious freedom to protest OCFS’s directive that it either
  agree to approve unmarried and same-sex adoption applicants or
  close its adoption services, OCFS responded that “[s]ome Christian
  ministries have decided to compromise and stay open.” Compl. ¶ 192
  (brackets in original). See Masterpiece Cakeshop v. Colo. Civil Rights
  Comm’n, 138 S. Ct. at 1729 (quoting statement by Colorado Civil

  21Recusal and referral might also be understood to avoid another constitutional
  concern—compelled speech—that could arise from OCFS using 18 NYCRR
  § 421.3(d) to compel New Hope to render adoption judgments contrary to its
  religious beliefs as a condition for its continued authorization to pursue an
  adoption ministry. See, e.g., Agency for Int’l Dev. v. All. for Open Soc’y Int’l, Inc., 570
  U.S. 205, 213 (2013) (reiterating “basic First Amendment principle that freedom of
  speech prohibits the government from telling people what they must say”
  (internal quotation marks omitted)). We pursue this point further infra at 53–55,
  65–70, in discussing New Hope’s Free Speech claim.




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  Rights Commissioners that businessman who “wants to do business
  in the state and he’s got an issue with the—the law’s impacting his
  personal belief system, he needs to look at being able to compromise”
  (emphasis added) (internal quotation marks omitted)). Further, when
  OCFS was asked by a reporter to comment on the closure of a long-
  established Christian adoption agency in Buffalo, its spokeswoman
  stated that “[t]here is no place for providers that choose not to follow
  the law.” Compl. ¶ 204; see Masterpiece Cakeshop v. Colo. Civil Rights
  Comm’n, 138 S. Ct. at 1729 (quoting Commissioners that plaintiff “can
  believe ‘what he wants to believe’ but cannot act on his religious
  beliefs ‘if he decides to do business in the state’”). As in Masterpiece
  Cakeshop, these statements are subject to various interpretations, some
  benign. 22 But on a motion to dismiss, we must draw the inference
  most favorable to New Hope, i.e., that OCFS did not think New
  Hope’s     religious    beliefs   about     family    and    marriage      could
  “legitimately be carried into the public sphere.” Masterpiece Cakeshop
  v. Colo. Civil Rights Comm’n, 138 S. Ct. at 1729. Indeed, for OCFS, it
  was not enough that New Hope used recusal and referral to avoid
  denying adoption approval to unmarried and same-sex couples based
  on its own religious beliefs. Rather, for New Hope to continue its


  22In Masterpiece Cakeshop, the Supreme Court acknowledged that the statements
  from that case quoted here—not the most egregious at issue, see id. at 1729— might
  mean “simply that a business cannot refuse to provide services based on sexual
  orientation.” Id. But it observed that the statements could also be understood to
  endorse the impermissible view “that religious beliefs cannot legitimately be
  carried into the public sphere or commercial domain, implying that religious
  beliefs and persons are less than fully welcome in Colorado’s business
  community.” Id.




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  adoption    ministry   in   New     York,   OCFS     insisted   that   it
  “compromise”—i.e., abandon—its own religious views about family
  and marriage and subscribe to the state’s orthodoxy on such matters.
  See generally West Va. Bd. of Educ. v. Barnette, 319 U.S. at 642.
  Construed in this light, the allegations cannot be dismissed for failing
  to state a plausible Free Exercise claim.

        Fourth, another matter bearing on religious hostility and
  making dismissal premature is the severity of OCFS’s actions in
  ordering New Hope’s closure. It is plainly a serious step to order an
  authorized adoption agency such as New Hope—operating without
  complaint for 50 years, taking no government funding, successfully
  placing approximately 1,000 children, and with adoptions pending or
  being supervised—to close all its adoption operations. All the more
  serious when, as just discussed, the agency has, for five years and
  without objection by OCFS, used recusal and referral to avoid
  rejecting applicants on the basis of its religious beliefs. A court
  properly starts by asking what authority OCFS had to order such a
  shut down, and what procedures attend such a decision. There may
  be clear answers for these questions, but they are not apparent on the
  present record.

        New York Soc. Serv. Law § 371(10)(a) authorizes OCFS to
  “visit[], inspect[] and supervise[]” adoption agencies. Thus, OCFS
  was well within its authority in visiting and inspecting New Hope in
  2018. But § 371(10)(a) makes no mention of closing adoption agencies
  or invalidating the certificates of incorporation authorizing them to
  provide adoption services. C.f. N.Y. Bus. Corp. Law § 109(a)(1), (2)




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  (empowering Attorney General to maintain action to dissolve
  corporation). And while N.Y. Soc. Serv. Law § 385 does authorize
  OCFS to issue an order prohibiting an authorized agency from
  “thereafter placing out or boarding out any child,” that authority is
  limited to four circumstances: where OCFS determines that a child
  was placed (1) for “gain,” (2) “without due inquiry as to the character
  and reputation of the person with whom such child is placed,” (3) “in
  such manner that such child is subjected to cruel or improper
  treatment or neglect or immoral surroundings,” or (4) “in such
  manner that the religious faith of the child is not preserved and
  protected” as provided by law. N.Y. Soc. Serv. Law § 385(1). None
  of these circumstances obtains here. To the contrary, in October 2018,
  OCFS commended New Hope for its “supportive and detailed
  adoptive family selection process.” J. App’x at 84.

        In response to an inquiry from this court as to the source of its
  authority to order New Hope’s closure, OCFS cites N.Y. Soc. Serv.
  Law § 34(3)(e), which authorizes the agency to “enforce,” inter alia,
  laws and regulations pertaining to adoption. But nothing in that
  section, or any other authority cited by OCFS, indicates the scope of
  the enforcement authority conferred by § 34(3)(e), specifically,
  whether OCFS’s enforcement authority is akin to that of police and
  prosecutors, who investigate and charge violators, or whether it also
  extends to judicial-like authority to prescribe the punishment for
  violations, specifically, the punishment of closure.

        We do not here decide whether OCFS’s closure authority
  reaches further than that expressly afforded by N.Y. Soc. Serv. Law




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  § 385(1). We conclude only that until the source of any broader
  authority is identified and considered in light of the circumstances of
  this case, the severity of OCFS’s comply-or-close decision adds some
  weight to New Hope’s claim of hostility toward its religious beliefs.

        Fifth, New Hope asserts that OCFS’s 2018 actions in enforcing
  18 NYCRR § 421.3(d) has forced the closure of several other adoption
  agencies sharing its religious beliefs about family and marriage. This
  warrants further inquiry because “the effect of a law in its real
  operation” can be “strong evidence of its object.” Lukumi v. Hialeah,
  508 U.S. at 535. If we assume, as we must on dismissal, that the effect
  of OCFS’s comply-or-close method for enforcing § 421.3(d) fell almost
  exclusively on adoption services holding particular religious beliefs,
  that is some reason to suspect that the object of the law was to target
  those beliefs and to exclude those who maintain them from the
  adoption process. This suspicion is reinforced by circumstances,
  already discussed, indicating OCFS’s awareness (at the pleadings
  stage) (1) that neither the state legislature nor executive intended for
  adoption agencies to have to compromise religious beliefs in order to
  continue operating in the state, and (2) that recusal and referral were
  available means for agencies to avoid having their religious beliefs
  adversely affect the adoption applications of unmarried and same-sex
  couples.

        In sum, the pleadings, if accepted as true and viewed in the
  light most favorable to New Hope, do not permit a court to conclude
  as a matter of law that 18 NYCRR § 421.3(d), as promulgated and
  enforced by OCFS, was neutral and not based on some hostility to




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  New Hope’s religious beliefs. Thus, dismissal of New Hope’s Free
  Exercise claim was premature. The matter warrants discovery.

               3.     Free Speech Claim

        New Hope claims that OCFS also violated its constitutional
  right to Free Speech in two ways:          (a) by compelling it to say
  something it does not believe, i.e., that adoption by unmarried or
  same-sex couples can be in the best interests of a child; and (b) by
  requiring it to associate with such couples, thereby impeding New
  Hope’s ability to promote its own beliefs and values about religion,
  marriage, and family.

        The district court dismissed the compelled speech part of this
  claim on two grounds: (1) any speech at issue is “government[]
  speech,” for which New Hope cannot claim First Amendment
  protection; and (2) New Hope failed plausibly to plead that its speech
  was being compelled in any way. These two conclusions, in turn,
  informed the district court’s decision to dismiss New Hope’s
  expressive association claim because it could not plausibly plead
  more than “slight” injury to its expressive activities. See New Hope
  Family Servs., Inc. v. Poole, 387 F. Supp. 3d at 217, 219.

        For the reasons explained herein, the pleadings, viewed most
  favorably to New Hope, do not permit a court to reach these
  conclusions now as a matter of law.




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                       a.     Compelled Speech

         “At the heart of the First Amendment” is the principle “that
  each person should decide for himself or herself the ideas and beliefs
  deserving of expression, consideration, and adherence.” Agency for
  Int’l Dev. v. All. for Open Soc’y Int’l, Inc., 570 U.S. at 213 (quoting Turner
  Broad. Sys., Inc. v. FCC, 512 U.S. 622, 641 (1994)). Consistent with this
  principle, freedom of speech means that the “government may not
  prohibit the expression of an idea,” even one that society finds
  “offensive or disagreeable.” Texas v. Johnson, 491 U.S. 397, 414 (1989);
  see generally Barr v. Am. Ass’n of Political Consultants, Inc., No. 19-631,
  2020 WL 3633780, at *12 (U.S. July 6, 2020) (plurality opinion)
  (describing First Amendment as “a kind of Equal Protection Clause
  for ideas” (internal quotation marks omitted)). For much the same
  reason, government also cannot tell people that there are things “they
  must say.” Agency for Int’l Dev. v. All. for Open Soc’y Int’l, Inc., 570 U.S.
  at 213 (quoting Rumsfeld v. Forum for Acad. and Institutional Rights, Inc.
  (“FAIR”), 547 U.S. 47, 61 (2006)); accord Janus v. Am. Fed’n of State, Cty.
  & Mun. Emps., Council 31, 138 S. Ct. 2448, 2463 (2018) (stating that First
  Amendment prevents government from “[c]ompelling individuals to
  mouth support for views they find objectionable”).              Thus, when
  government “direct[ly] regulat[es] . . . speech” by mandating that
  persons explicitly agree with government policy on a particular




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  matter, it “plainly violate[s] the First Amendment.” Agency v. Int’l
  Dev. v. All. for Open Soc’y Int’l, Inc., 570 U.S. at 213. 23

         The pleadings here, viewed most favorably to New Hope,
  plausibly charge OCFS with an impermissible direct regulation of
  speech.    As discussed supra at 21–25, all New Hope’s adoption
  services—from       counseling     birthmothers,      to       instructing   and
  evaluating prospective adoptive parents, to filing its ultimate reports
  with the court—are laden with speech. But, more to the point, these
  services are provided so that, at their end, New Hope itself can speak
  on the determinative question for any adoption: whether it would be
  in the best interests of a child to be adopted by particular applicants.
  New Hope asserts that, based on its religious beliefs about marriage
  and family, it does not believe and, therefore, cannot state, that
  adoption by unmarried or same-sex couples would ever be in the best
  interests of a child. It charges OCFS with requiring it to say just that—
  or to close down its voluntary, privately funded adoption ministry.
  See Compl. ¶ 271 (alleging that OCFS “requires New Hope to engage
  in speech and expression that it does not wish to convey—speech and
  expression that violate[] its core religious beliefs—by compelling it to




  23At issue in Agency for International Development was a challenged mandate that
  federal funding recipients “explicitly agree with the Government’s policy to
  oppose prostitution and sex trafficking.” 570 U.S. at 213. The Supreme Court
  observed that if that requirement had been “enacted as a direct regulation of
  speech,” it “would plainly violate the First Amendment.” Id. The Court then
  proceeded to explain why the requirement violated the First Amendment even as
  a funding condition. See id. at 213–18.




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  recommend same-sex couples or unmarried couples as adoptive
  parents”). These pleadings are sufficient to withstand dismissal.

        Moreover, neither reason cited by the district court supports a
  contrary conclusion at this stage of the case.

                          i.     Government Speech

          The district court concluded that because New Hope is a state-
  authorized adoption agency, any speech involved in its provision of
  adoption services is “government[] speech” for which New Hope
  cannot claim First Amendment protection. New Hope Family Servs.,
  Inc. v. Poole, 387 F. Supp. 3d at 217 (“New Hope’s speech, to the extent
  any is required when performing its services as an authorized
  [adoption] agency, constitutes governmental speech. . . .”); see, e.g.,
  Matal v. Tam, 137 S. Ct. 1744, 1757 (2017) (collecting cases recognizing
  that Government’s own speech is exempt from First Amendment
  scrutiny). The Supreme Court, however, has held that the mere fact
  that government authorizes, approves, or licenses certain conduct
  does not transform the speech engaged therein into government
  speech. The reason is plain: “If private speech could be passed off as
  government speech by simply affixing a government seal of approval,
  government could silence or muffle the expression of disfavored
  viewpoints.” Matal v. Tam, 137 S. Ct. at 1758 (holding that federal
  registration of trademark does not make the mark government
  speech); see also National Inst. of Family and Life Advocates v. Becerra, 138
  S. Ct. 2361, 2375 (2018) (rejecting idea that government acquires
  “unfettered power to reduce a group’s First Amendment rights by




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  simply imposing a licensing requirement”); 24 44 Liquormart, Inc. v.
  Rhode Island, 517 U.S. 484, 513 (1996) (plurality opinion) (holding
  advertising limits on liquor retailers violated First Amendment,
  explaining that state decision to license its liquor retailers did not
  permit it to condition license on “surrender of a constitutional right”).

            The district court relied primarily on two cases to support its
  identification of “government[] speech” here. Both are inapt because
  the       speech-challenged         conditions      were   there   imposed    on
  government-funded services. See Legal Servs. Corp. v. Velazquez, 531
  U.S. 533 (2001) (challenging federal funding condition prohibiting
  legal services corporations from using funds to “challenge existing
  welfare law”); Fulton v. City of Philadelphia, 320 F. Supp. 3d 661
  (challenging non-discrimination provision of contract with City to
  provide foster care services). 25            In Velazquez, the Supreme Court
  observed that “[w]hen the government disburses public funds to private
  entities to convey a governmental message, it may take legitimate and
  appropriate steps to ensure that its message is neither garbled nor
  distorted by the grantee.” 531 U.S. at 541 (brackets in original)
  (emphasis added) (internal quotation marks omitted); see also Agency
  for Int’l Dev. v. All. for Open Soc’y Int’l, Inc., 570 U.S. at 214 (collecting
  cases recognizing that, under Spending Clause, Congress can impose


  24In Becerra, the Supreme Court ruled, inter alia, that requiring a licensed
  pregnancy center to provide women with notice of certain state services, including
  abortion, violated the First Amendment by altering the content of the clinic’s
  speech. 138 S. Ct. at 2371–76.
  25   See supra at 37, 41–42 (discussing Fulton history).




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  some conditions on federal funding that it could not impose directly
  without violating First Amendment). The district court in Fulton
  relied on Velazquez’s quoted language in holding that Philadelphia
  permissibly included a non-discrimination condition in its contract
  with CSS funding a part of the organization’s foster care services. See
  Fulton v. City of Philadelphia, 320 F. Supp. 3d at 696–97. The reasoning
  of these cases does not apply here because New Hope receives no
  government funding, either by way of a grant program or a contract.
  Indeed, New Hope alleges that it avoids government funding
  precisely to “ensure its autonomy to operate in accordance with its
  religious beliefs.” Compl. ¶ 51. Thus, “subsidized speech” cases
  cannot support the identification of “government speech” here. See
  Matal v. Tam, 137 S. Ct. at 1760–61 (Alito, J., plurality opinion). 26



  26In Matal v. Tam, a Supreme Court plurality treated the questions of “government
  speech” and “subsidized speech” as distinct, noting that subsidized speech can
  “implicate a notoriously tricky question of constitutional law” because, at the same
  time that the law recognizes that “government is not required to subsidize
  activities that it does not wish to promote,” it also prohibits government from
  “deny[ing] a benefit to a person on a basis that infringes his constitutionally
  protected . . . freedom of speech even if he has no entitlement to that benefit.” 137
  S. Ct. at 1760–61 (internal quotation marks omitted). Applying these principles in
  Agency for International Development and Velazquez, the Supreme Court ruled that
  the latter was determinative and that the challenged speech conditions there
  violated the First Amendment even as applied to funding recipients. See Agency
  for Int’l Dev. v. All. for Open Soc’y Int’l, Inc., 570 U.S. at 214–15, 217–18 (holding
  unconstitutional funding condition requiring recipients to affirm opposition to
  prostitution because it compelled grant recipient “to adopt a particular belief as a
  condition of funding”); Legal Servs. Corp. v. Velazquez, 531 U.S. at 540–41, 548–49
  (holding challenged funding condition on legal services unconstitutional because
  it “exclude[d] certain vital theories and ideas”). In Matal v. Tam, the plurality




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         Insofar as a particular viewpoint might be identified as
  “government speech” without regard to government funding, the
  Matal Court urged “great caution” in extending the doctrine beyond
  its established precedents. Id. at 1758. As Justice Alito explained, the
  government-speech doctrine is both “essential” and “dangerous”:
  essential to avoid “paralyzing” government, id. at 1757 (observing
  that when “government entity embarks on a course of action, it
  necessarily takes a particular viewpoint and rejects others”), but
  dangerous because, as we have already noted, “[i]f private speech
  could be passed off as government speech by simply affixing a
  government seal of approval, government could silence or muffle the
  expression of disfavored viewpoints,” id. at 1758. 27

         In Matal v. Tam, 137 S. Ct. at 1759–60, the Court identified three
  circumstances       where      Supreme        Court     precedents       identified
  government speech:          a federally created advertising program to


  explained that there was no need to weigh the identified competing principles in
  that case because trademarks involved no government subsidy or expenditure
  beyond that associated with any government service. See 137 S. Ct. at 1761. The
  same conclusion obtains with respect to New Hope’s privately funded, authorized
  adoption services.
  27Members of the Court had also expressed reservations about the government-
  speech doctrine in Pleasant Grove City v. Summum, 555 U.S. 460 (2009), discussed
  infra at 60–62, 64. See Pleasant Grove City v. Summum, 555 U.S. at 481 (Stevens, J.,
  joined by Ginsburg, J., concurring) (stating that “decisions relying on the recently
  minted government speech doctrine to uphold government action have been few,
  and, in my view, of doubtful merit”); id. at 484 (Breyer, J., concurring) (expressing
  understanding that doctrine is “a rule of thumb, not a rigid category”); id. at 485
  (Souter, J., concurring in judgment) (urging Court to “go slow in setting” bounds
  of government-speech doctrine).




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  promote the sale of beef, see Johanns v. Livestock Mktg. Ass’n, 544 U.S.
  550 (2005); a local government’s acceptance of a Ten Commandments
  monument for display in a city park, see Pleasant Grove City v.
  Summum, 555 U.S. 460; and a state’s allowance of specialty license
  plates, see Walker v. Texas Div., Sons of Confederate Veterans, Inc., 576
  U.S. 200 (2015).

        In the first circumstance, the Court held that the ads were
  government speech because “[t]he message set out in the beef
  promotions [was] from beginning to end the message established by
  the Federal Government.” Matal v. Tam, 137 S. Ct. at 1759 (brackets in
  original) (quoting Johanns v. Livestock Mktg. Ass’n, 544 U.S. at 560, and
  noting that Congress and Secretary of Agriculture provided
  guidelines for content of ads, Agriculture officials attended meetings
  at which content of ads was discussed, and Secretary could edit or
  reject any proposed ad).

        In the monuments case, “many factors” indicated that park
  monuments represented government speech, among them, (a)
  government’s historic use of monuments to speak to the public, (b) a
  tradition of parks selectively accepting and displaying donated
  monuments, (c) the public’s close identification of public parks with
  the government owning the parkland, and (d) the accepted
  monuments were meant to and had the effect of conveying a
  government message. Id. at 1759–60 (citing Pleasant Grove City v.
  Summum, 555 U.S. at 472).




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            Finally, in the specialty plates case—described by Matal as
  “likely mark[ing] the outer bounds of the government-speech
  doctrine”—three factors were determinative: (a) States had long used
  license plates to convey government messages; (b) the public closely
  identified license plates with the State because it manufactured and
  owned the plates, generally designed them, and used them as a form
  of government identification; and (c) Texas maintained direct control
  over the messages conveyed on specialty plates. Id. at 1760 (citing
  Walker v. Texas Div., Sons of Confederate Veterans, Inc., 576 U.S. at 207–
  13). 28

            The factors highlighted in these cases are either not present
  here, or not sufficiently present at the pleading stage to warrant
  reliance on government speech as a ground for dismissal.

            First, by contrast to the monuments discussed in Pleasant Grove
  and the license plates at issue in Walker, adoption has not historically
  been treated by government as a means for it to communicate with
  the public on various matters. Rather, adoption’s singular focus is on
  identifying a placement that is in the best interests of a child.

            Second, by contrast to any of the three precedents cited in Matal,
  nothing in the pleadings suggests that the public understands New
  Hope’s expressive activities, either in generally providing adoption


  28This court has relied on these three Walker factors in considering government-
  speech claims. See, e.g., Wandering Dago, Inc. v. Destito, 879 F.3d 20, 34–36 (2d Cir.
  2018) (considering factors in determining that names of food vendors at state-
  organized lunch program were not government speech).




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  services or, ultimately, in recommending a child’s placement, to be
  the State’s own message.         The general principle that State
  authorization by itself does not transform the authorized actor’s
  speech into government speech, see Matal v. Tam, 137 S. Ct. at 1758,
  applies with particular force here, where New York itself operates 58
  state-denominated adoption agencies at the same time that it
  authorizes some 70 private, non-profit organizations also to offer
  adoption services.    Many of those organizations, including New
  Hope, have done so for decades and have long established private
  identities.

         The pleadings further indicate that, from its first meeting with
  prospective adoptive parents, New Hope makes its private identity
  clear, specifically, its identity as a religious ministry.    It starts
  meetings with a prayer and uses scripture passages and religious
  texts to explore “how faith in God can help [adoption] applicants.”
  Compl. ¶¶ 105, 109, 111–112. A person listening to such explicitly
  religious messages from a private entity operating from a non-state
  location would not be likely to understand the messages conveyed as
  those of the State of New York, rather than New Hope’s own. Cf.
  Pleasant Grove City v. Summum, 555 U.S. at 472 (holding government’s
  acceptance of monument for public parkland, where government had
  used monuments to convey its messages to public, identified
  monument as “government speech”); Johanns v. Livestock Mktg. Ass’n,
  544 U.S. at 560 (stating that message set out in challenged promotion
  was “from beginning to end the message established by the Federal
  Government”). Indeed, OCFS itself does not seem to think there is




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  much risk of misattribution because it nowhere suggests that there is
  anything improper in New Hope conveying religious messages or
  employing religious rituals in providing adoption services, which
  presumably New Hope could not do if it were speaking for the State.

         Viewed most favorably to New Hope, then, the pleadings
  suggest that OCFS is not seeking to avoid having New Hope’s views
  attributed to the State but, rather, is demanding that New Hope—in
  order to continue operating as an authorized adoption agency—
  express a State view with which it disagrees, i.e., that it can be in the
  best interests of a child to be adopted by an unmarried or same-sex
  couple.    In Walker, the Supreme Court stated that “the First
  Amendment stringently limits a State’s authority to compel a private
  party to express a view with which the private party disagrees.”
  Walker v. Texas Div., Sons of Confederate Veterans, Inc., 576 U.S. at 219.
  Indeed, this limitation may apply even when the government is
  looking to communicate its own message through a private entity. See
  id. at 208 (stating that “Free Speech Clause itself may constrain the
  government’s speech if . . . the government seeks to compel private
  persons to convey the government’s speech”).

        Third, although the adoption process in New York is certainly
  more regulated than the trademark process at issue in Matal v. Tam,
  137 S. Ct. at 1758–59, a court cannot conclude at the pleadings stage
  that “from beginning to end” the messages conveyed by New Hope
  are so controlled by New York as to be the State’s own, Johanns v.
  Livestock Mktg. Ass’n, 544 U.S. at 560. As discussed supra at 11–16, the
  laws and regulations identifying factors relevant to determining the




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  best interests of a child awaiting adoption appear to afford authorized
  agencies considerable discretion in weighing those factors and in
  exercising independent judgment as to the propriety of any particular
  placement.    By contrast to the extensive involvement of federal
  officials in the promotional campaign at issue in Johanns, it seems no
  New York officials engage directly with private authorized agencies
  as they recruit, instruct, evaluate, and ultimately recommend
  adoptive parents to a child’s birth parents and to the court. Nothing
  in the pleadings indicates that OCFS officials ever review, edit, or
  reject a private authorized agency’s best-interests assessment before
  a child’s placement in an adoptive family. Cf. Walker v. Texas Div.,
  Sons of Confederate Veterans, Inc., 576 U.S. at 213 (highlighting State’s
  maintenance of direct control over messages conveyed on specialty
  plates); Pleasant Grove City v. Summum, 555 U.S. at 471–72 (referencing
  tradition of parks selectively accepting and displaying donated
  monuments); Johanns v. Livestock Mktg. Ass’n, 544 U.S. at 561 (stating
  that government could edit, or even reject, proposed advertisement).

        In sum, on the pleadings record, none of the three factors that
  courts rely on in identifying “government speech” weighs in favor of
  identifying any speech by New Hope as such. Nor do they compel
  that conclusion as a matter of law when considered together. Further
  proceedings may produce additional evidence that casts these
  pleadings in a different light. We here hold only that New Hope’s
  First Amendment compelled speech claim cannot be dismissed now
  on the ground that any speech at issue is government speech.




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                          ii.   No Compelled Speech

        Alternatively, the district court dismissed New Hope’s free
  speech claim because OCFS and 18 NYCRR § 421.3(d) “simply do not
  compel speech” or even compel New Hope “to change the message it
  wishes to convey.” New Hope Family Servs. v. Poole, 387 F. Supp. 3d at
  217–18.   The court acknowledged New Hope’s assertion that it
  provides “extensive” information to potential adoptive parents and
  birthparents consistent with its religious views on marriage and the
  family.   Id. at 218.    Nevertheless, it concluded that “nothing is
  preventing New Hope from continuing to share its religious beliefs
  throughout the entire process.” Id. Indeed, the court expressed “no
  doubt that New Hope’s general disapproval of cohabitating
  unmarried couples and same sex couples will continue to be made
  clear.” Id. Similarly, while acknowledging New Hope’s complaint
  that forcing it to approve and recommend unmarried and same-sex
  couples as adoptive parents would “send a message . . . that [New
  Hope] accepts such relationships as appropriate and believes that
  adoption by such couples can be in the best interests of the child,” id.
  at 217 (brackets in original) (internal quotation marks omitted), the
  district court concluded that, in fact, “the only message that would be
  conveyed” by New Hope’s approving an unmarried or same-sex
  couple for adoption “is that, applying the [relevant] regulatory
  criteria . . . , placement with such a couple would be in the child’s best
  interest,” id.; see also id. at 218 (“[T]he only statement being made by
  approving such couples as adoptive parents is that they satisfy the




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  criteria set forth by the state, without regard to any views as to the
  marital status or sexual orientation of the couple.”).

         Both conclusions are premature. It is hardly evident from the
  pleadings that OCFS, in requiring New Hope to conform its policies
  to 18 NYCRR § 421.3(d), would permit New Hope to counsel
  unmarried and same-sex couples that it is in the best interests of a
  child to be adopted by a heterosexual married couple and not in the
  best interests of a child to be adopted by an unmarried or same-sex
  couple. The regulation, after all, prohibits harassment as well as
  discrimination and, as the district court itself recognized in a colloquy
  exchange, if New Hope were to express such views, it would likely
  face a lawsuit “the next day.” J. App’x at 237.

         In its brief to this court, OCFS no longer disclaims the
  possibility of it restricting New Hope’s speech in providing adoption
  services. Rather, OCFS acknowledges that “any restriction on New
  Hope’s expressive activities within the contours of its provision of
  adoption activities remains unclear.” Appellee Br. at 54. 29 While
  OCFS maintains that “New Hope remains free to espouse its beliefs
  about marriage and family,” and to “advocat[e] for adoptions by
  married heterosexual couples, outside the contours of its provision of
  . . . adoption services,” id. (emphasis added), that concession is
  meaningless. New Hope does not claim that OCFS would compel or


  29This represents a departure from OCFS’s position before the district court. It
  there asserted that 18 NYCRR § 421.3(d) “neither compels, nor prohibits, New
  Hope from . . . expressing its beliefs, religious or otherwise.” J. App’x at 188.




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  limit its speech if it loses authorization to provide adoption services.
  Rather, New Hope sues OCFS for violating its right to free speech as
  an authorized adoption agency.          The pleadings record admits a
  plausible inference that New Hope cannot both comply with 18
  NYCRR § 421.3(d), as required to retain its authorization to provide
  adoption services, and express its view that adoption by unmarried
  and same-sex couples is not in the best interests of a child. Thus,
  discovery is warranted to determine the extent to which the required
  compliance will restrict or compel New Hope’s speech.

        Nor is a different conclusion warranted by OCFS’s assertion
  that “all” it has done to date is “regulate New Hope’s conduct—its
  refusal to provide adoption services to or place children with
  unmarried and same-sex couples.” Id. at 51. As the Supreme Court
  has long recognized, even conduct can claim the protections of Free
  Speech where “[a]n intent to convey a particularized message [is]
  present, and . . . the likelihood [is] great that the message would be
  understood by those who viewed” or learned of the conduct. Texas v.
  Johnson, 491 U.S. at 404 (first brackets in original) (internal quotation
  marks omitted); see Church of Am. Knights of the Ku Klux Klan v. Kerik,
  356 F.3d 197, 205 (2d Cir. 2004) (same). In any event, the pleadings
  here, viewed most favorably to New Hope, demonstrate more than
  conduct. New Hope asserts that, consistent with New York law, it
  can only place a child with an adoptive couple if it approves the
  placement as in the best interests of the child.        See 18 NYCRR
  § 421.18(d). Thus, New Hope has a plausible claim that by compelling
  it to place children with unmarried and same-sex couples, OCFS is




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  necessarily compelling New Hope to engage in the speech required
  for that conduct—speech with which New Hope does not agree.

         The district court recognized the inextricable link between New
  Hope’s speech and conduct in the placement of a child for adoption.
  Nevertheless, the court dismissed New Hope’s free speech claim
  upon concluding that the only message that its approval would
  convey is that an unmarried or same-sex couple satisfies the State
  regulations’ criteria for an adoptive placement. See New Hope Family
  Services v. Poole, 387 F. Supp. 3d at 217. This implies that approval
  communicates no judgment by New Hope itself.                      Again, this
  conclusion cannot be reached at the pleadings stage.

         As we have already observed, the regulatory criteria applicable
  to adoption provide agencies with no mere quantitative checklist. 30
  Rather, the regulations, by their nature, entrust authorized agencies
  with considerable discretion to exercise judgment in determining the
  best interests of a child.      See supra at 11–16 (discussing various
  regulations). OCFS acknowledges as much in stating that “[t]he
  statutory [and regulatory] scheme bestows significant authority on
  authorized agencies.” Appellee Br. at 4. Nowhere do the regulations
  define “best interests.” They state only that the determination should
  consider, (1) “the appropriateness of placement in terms of the age of
  the child and of the adoptive parent(s)”; (2) “the physical and
  emotional needs of the child in relation to the characteristics,


  30We have no occasion here to consider whether other regulations, including
  quantitative factors, might implicate compelled speech in certain circumstances.




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  capacities, strengths and weaknesses of the adoptive parent(s)”; and
  (3) “the requirement . . . to place minor siblings or half-siblings
  together . . . unless . . . such placement [is determined] to be
  detrimental to the best interests of one or more of the children.” Id.
  § 421.18(d). These factors admit no single answer, but require the
  exercise of agency judgment. Moreover, the regulation states that a
  best-interests determination is “not limited to” these factors, id.,
  which further cautions against a narrow characterization of the
  message conveyed by such a determination.

        Related regulations are similarly broadly cast. For example, in
  the home study that adoption agencies must conduct before deciding
  whether it is in the particular interest of a child to be placed with an
  applicant, the agency must “explore each applicant’s ability to be an
  adoptive parent,” discussing a range of topics including “principles
  related to the development of children,” “reasons a person seeks to
  become an adoptive parent,” the applicant’s “understanding of the
  adoptive parent role,” the applicant’s “psychological readiness to
  assume responsibility for a child,” and the agency’s role in
  “supervising and supporting the adoptive placement.”                 Id.
  § 421.15(d). Agencies must also “explore” an applicant’s “capacity to
  give and receive affection,” and “ability to provide for a child’s
  physical and emotional needs.” Id. § 421.16(a). The regulations do
  not instruct authorized agencies as to how they should evaluate or
  weigh these factors. Rather, these matters are left to the exercise of
  agency judgment and discretion, which will necessarily be informed,




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  to at least some degree, by the agency’s conception of a child’s best
  interests.

        In New Hope’s case, that conception has, as its starting point,
  the “biblical model for the family” as “one man married to one
  woman for life.” Compl. ¶ 56. Given the discretion inherent in New
  York laws and regulations pertaining to the identification of adoption
  placements that are in the best interests of a particular child, a court
  could not conclude on the pleadings that New Hope can identify a
  child’s best interests, and, therefore, approve an adoption placement,
  without communicating its viewpoint—or the one that it complains
  OCFS is compelling it to adopt. Thus, it was premature for the district
  court to conclude that requiring New Hope to provide adoption
  services to unmarried and same-sex couples compelled no speech
  subject to First Amendment protection.

                     b.     Expressive Association

        As a second part of its Free Speech claim, New Hope charges
  OCFS with impeding its right of association.

        “Association” occupies a clearer place in American history than
  in American law.     As to the former, what Tocqueville famously
  observed in 1835 has remained true for almost two centuries: “In no
  country in the world has the principle of association been more
  successfully used or applied to a greater multitude of objects than in
  America.” 1 ALEXIS DE TOCQUEVILLE, DEMOCRACY IN AMERICA 191
  (Phillips Bradley ed., Vintage Books 1990) (1835). As pertinent here,
  one of the “objects” for which Americans have laudably associated




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  throughout their history has been to care for orphaned and
  abandoned children. See supra at 8 n.3.

        The law, however, recognizes no fundamental “right of
  association.” The First Amendment does not, by its terms, pronounce
  such a right. See City of Dallas v. Stanglin, 490 U.S. 19, 23–24 (1989).
  Nevertheless, the Supreme Court has applied the First Amendment
  to association claims in two limited circumstances: “choices to enter
  into and maintain certain intimate human relationships,” and
  “associat[ion] for the purpose of engaging in those activities protected
  by the First Amendment—speech, assembly, petition for the redress
  of grievances, and the exercise of religion.” Roberts v. U.S. Jaycees, 468
  U.S. 609, 617, 618 (1984); see Jacoby & Meyers, LLP v. Presiding Justices
  of the First, Second, Third & Fourth Dep’ts, Appellate Div. of the Supreme
  Court of N.Y., 852 F.3d 178, 187–88 (2d Cir. 2017). It is the latter—so-
  called “expressive association”—that New Hope invokes in this case.

        New Hope asserts that its adoption ministry is an expressive
  association in that it employs protected speech to “convey[] a system
  of values about life, marriage, family and sexuality to both
  birthparents and adoptive parents through its comprehensive
  evaluation, training, and placement programs.” Compl. ¶ 270. New
  Hope alleges that OCFS’s actions in applying 18 NYCRR § 421.3(d)
  impair New Hope’s ability to advocate for its values. Specifically,
  New Hope maintains that requiring it to “[i]nclud[e] unmarried or
  same-sex couples in [its] comprehensive evaluation, training, and
  placement programs and adoptive-parent profiles would change




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  New Hope’s message and counseling to adoptive families and
  birthparents.” Id. ¶ 273. 31

         In dismissing New Hope’s association claim, the district court
  concluded that the adoption agency could show only “slight
  impairment” to its expressive activity because New Hope was “not
  being required to hire employees that do not share [its] same religious
  values,” and was not “prohibited in any way from continuing to voice
  [its] religious ideals.” New Hope Family Servs., Inc. v. Poole, 387 F.
  Supp. 3d at 219. For the same reasons the latter conclusion cannot be
  reached at the pleading stage with respect to New Hope’s compelled
  speech claim, see supra at 65–70, it cannot be reached with respect to
  New Hope’s expressive association claim.

         As for the “slight impairment” conclusion, it too is premature.
  Compelled hiring, like compelled membership, may be a way in
  which a government mandate can “affect[] in a significant way [a]


  31OCFS argues on appeal that New Hope is not engaged in expressive association
  because it is “not open to membership and was not organized for the purpose of
  engaging in expressive activities.” Appellee Br. at 58. The membership argument
  fails for reasons stated in text infra at 72–74 with respect to compelled hiring. As
  for “purpose,” even if OCFS’s urged conclusion could be reached at the pleadings
  stage, it would not compel dismissal. The Supreme Court has required that an
  organization “engage in some form of expression”—not that it be expressly
  constituted for that purpose—to claim expressive association protection. See Boy
  Scouts of Am. v. Dale, 530 U.S. 640, 648 (2000); Pi Lambda Phi Fraternity, Inc. v. Univ.
  of Pittsburgh, 229 F.3d 435, 443 (3d Cir. 2000), as amended (Nov. 29, 2000) (stating
  that Supreme Court has not required organization to be “primarily expressive[] in
  order to receive constitutional protection for expressive associational activity”).
  The pleadings easily satisfy this standard.




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  group’s ability to advocate public or private viewpoints.” Boy Scouts
  of Am. v. Dale, 530 U.S. at 648. But it is not the only way. Cf. Rumsfeld
  v. FAIR, 547 U.S. at 69 (acknowledging that “freedom of expressive
  association protects more than just a group’s membership decisions”).

        The pleadings, viewed most favorably to New Hope, indicate
  that OCFS, in enforcing 18 NYCRR § 421.3(d), may require New Hope
  to “correct[] or disciplin[e]” employees who, sharing New Hope’s
  religious beliefs, act on, or even express, those beliefs in interacting
  with birthparents or prospective adoptive parents.          18 NYCRR
  § 421.3(d) (prohibiting discrimination and harassment and requiring
  authorized agencies to correct or discipline employees who engage in
  such). In short, New Hope complains that OCFS is not only directly
  limiting its own ability to promote its beliefs and values through its
  adoption services, but also, OCFS is requiring New Hope to use
  discipline to enforce those same expressive limitations as to its
  employees. This admits a plausible inference that OCFS is making
  association with New Hope “less attractive” for those who would
  otherwise combine their voices with the agency’s in order to convey
  their shared beliefs and values more effectively. See Rumsfeld v. FAIR,
  547 U.S. at 68–69.

        In Rumsfeld, the Supreme Court rejected an expressive
  association challenge to a federal law requiring schools to afford
  equal campus access to military recruiters. The Court observed that
  such compelled access did not affect “a law school’s associational
  rights” because “[s]tudents and faculty” remained “free to associate
  to voice their disapproval of the military’s message” and “nothing




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  about the statute affect[ed] the composition of the group by making
  group membership less desirable.” Id. at 69–70. By contrast, here, the
  pleadings admit a plausible inference that neither New Hope nor any
  employees that associate with it in its adoption ministry will be free
  to voice their religious beliefs about the sorts of marriages and
  families that they believe best serve the interests of adopted children.
  Thus, discovery is required to determine what, if any, leeway OCFS
  will grant New Hope and its like-minded employees in expressing
  their religious views before any determination can be made as to how
  significantly OCFS’s challenged actions will impede New Hope’s
  associational ability to advocate its religious viewpoints.

        Because New Hope’s expressive association claim survives
  dismissal on these grounds, we need not now conclusively decide
  whether a claim of compelled association with unmarried and same-
  sex couples pursuing adoption implicates expressive association.
  While such couples may not be seeking the sort of affiliation with
  New Hope generally associated with membership organizations, see
  Boy Scouts of Am. v. Dale, 530 U.S. 640, neither is theirs the “chance
  encounter[]” of dance-hall patrons, City of Dallas v. Stanglin, 490 U.S.
  at 25. Rather, the pleadings, viewed most favorably to New Hope,
  indicate that OCFS is requiring New Hope to associate with
  unmarried and same-sex couples for the purpose of providing
  services leading to adoption, an outcome that could tie New Hope,
  the couple, and an adopted child together for months, or even years.
  See supra at 21–25. To the extent New Hope maintains that such
  compelled association would impede its ability to convey its religious




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  beliefs about adoption in a way distinct from that resulting from the
  compelled speech of which it complains, it will have the opportunity
  to develop supporting evidence during discovery. We do not here
  predict whether New Hope will be able to do so. Cf. Telescope Media
  Grp. v. Lucero, 936 F.3d 740, 760 (8th Cir. 2019) (holding expressive
  association challenge to law prohibiting videographers from
  discriminating between heterosexual and same-sex weddings was
  “really a disguised free-speech claim” duplicative of claim on
  compelled-speech theory, and allowing only latter to proceed). We
  conclude only that the expressive association claim does not fail as a
  matter of law on the pleadings.

           In sum, we conclude that none of New Hope’s First
  Amendment claims—for Free Exercise of Religion, for Free Speech on
  a theory of compelled speech, and for Free Speech on a theory of
  expressive association—can be dismissed at the pleadings stage.
  Accordingly, we reverse the judgment of dismissal as to these claims.

           Preliminary Injunction

           We review the denial of a motion for a preliminary injunction
  for abuse of discretion, which we will identify only if the decision
  rests on an error of law or a clearly erroneous finding of fact, or cannot
  be located within the range of permissible decisions. See, e.g., North
  Am. Soccer League, LLC v. U.S. Soccer Fed'n, Inc., 883 F.3d 32, 36 (2d Cir.
  2018).     The district court’s denial of New Hope’s preliminary
  injunction motion as moot rests on an error of law, specifically, the
  court’s dismissal of all New Hope’s claims. For reasons stated in the




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  preceding sections of this opinion, New Hope’s Free Exercise and
  Free Speech claims should not have been dismissed and, thus, its
  preliminary injunction motion was not moot.

        New Hope urges that in vacating the denial of its preliminary
  injunction motion, this court direct entry of the requested injunction
  on remand. We recognize our authority to do so. See, e.g., New York
  Progress & Prot. PAC v. Walsh, 733 F.3d 483, 489 (2d Cir. 2013); Hsu v.
  Roslyn Union Free Sch. Dist. No. 3, 85 F.3d 839, 873 (2d Cir. 1996)
  (“Although reversal of an order denying an application for a
  preliminary injunction is customarily accompanied by a directive that
  the district court conduct a new hearing on remand, an appellate
  court, on a finding of merit in plaintiff’s case, can in the alternative
  direct the district court to issue the injunction.” (quoting Patton v.
  Dole, 806 F.2d 24, 31 (2d Cir. 1986))). But we leave it to the district
  court in the first instance to decide if such equitable relief is warranted
  and its exact scope. Nevertheless, a few observations may be useful
  to guide the district court’s exercise of its discretion on remand.

        First, because New Hope seeks a preliminary injunction to stay
  government action taken in the public interest pursuant to a statutory
  (and regulatory) scheme, it must establish both a likelihood of success
  on the merits and irreparable harm in the absence of an injunction.
  See Alliance for Open Soc’y Int’l, Inc. v. Agency for Int’l Dev., 651 F.3d
  218, 230 (2d Cir. 2011), aff’d., 570 U.S. 205; Alleyne v. N. Y. State Educ.
  Dep’t, 516 F.3d 96, 101 (2d Cir. 2008). The “loss of First Amendment
  freedoms . . . unquestionably constitutes irreparable injury.”
  International Dairy Foods Ass’n v. Amestoy, 92 F.3d 67, 71 (1996)




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  (internal quotation marks omitted). Thus, “the dominant, if not the
  dispositive, factor” in deciding whether to grant a preliminary
  injunction in this case is New Hope’s ability to demonstrate likely
  success on the merits of its Free Exercise and Free Speech claims. New
  York Progress & Prot. PAC v. Walsh, 733 F.3d at 488.

        Second, when the pleadings are viewed in the light most
  favorable to New Hope, serious concerns arise as to whether OCFS’s
  challenged actions violate the Free Exercise and Free Speech Clauses.
  See supra at 32–53 (discussing Free Exercise claim); id. at 65–70
  (discussing compelled speech claim). In considering a motion for an
  injunction, however, a court is not required to view the pleadings in
  the light most favorable to New Hope. See Pope v. Cty. of Albany, 687
  F.3d 565, 570 (2d Cir. 2012). Nevertheless, because New Hope’s
  complaint is verified, the district court can treat its detailed factual
  allegations as evidence. See Colon v. Coughlin, 58 F.3d 865, 872 (2d Cir.
  1995); 5A CHARLES A. WRIGHT & ARTHUR R. MILLER, FEDERAL
  PRACTICE AND PROCEDURE § 1339 (4th ed. 1990).

        In doing so here, the district court should consider that the facts
  alleged in the verified complaint, as well as those in sworn affidavits
  submitted by New Hope in support of a preliminary injunction, are
  largely unrefuted in OCFS’s filings in opposition to injunctive relief.
  The single opposing affidavit submitted by OCFS asserts that 18
  NYCRR § 421.3(d) applies uniformly and neutrally to all authorized
  adoption agencies in New York. J. App’x at 169. But the assertion is
  conclusory and, while true as applied to the statutory text, see supra at
  37, does not address pleaded circumstances raising neutrality




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  concerns, detailed supra at 43–53. The district court may properly
  consider the lack of evidence assuaging these concerns in determining
  the likelihood of New Hope succeeding on its Free Exercise claim.

        Similarly, in determining the likelihood of New Hope
  succeeding on its Free Speech claim, the district court can consider
  OCFS’s failure to provide factual support for its contention that a
  privately funded, faith-based adoption agency such as New Hope
  engages in “government speech” when it makes adoption
  recommendations based on its determination of the best interests of a
  child. Nothing in the existing record indicates that any listener has
  ever understood New Hope to be speaking or acting as an agent of
  the State in providing adoption services.         Indeed, an affidavit
  submitted by New Hope indicates the contrary. See generally J. App’x
  131–134 (Bleuer Aff.). Nor is there existing record evidence that state
  officials exercise the degree of control over New Hope’s expressive
  activities generally reflective of government speech. See supra at 63–
  64.

        As to the likelihood of New Hope showing that OCFS is
  compelling it to speak contrary to its beliefs, the district court should
  consider whether an agency’s adoption recommendation—expressly
  or implicitly—pronounces a particular placement to be in the “best
  interests” of the child. It should also consider the possibility of New
  Hope’s expressive activities in the provision of adoption services
  being restricted or penalized, particularly in light of OCFS’s inability
  to assure otherwise in this court. See supra at 66.




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        Third, in opposing a preliminary injunction, OCFS characterizes
  “adoptive services” as “government services.” J. App’x at 168–69. To
  the extent this characterization bears on the likelihood of New Hope
  succeeding on its claims, the district court can consider whether laws
  permitting only State “authorized” agencies to provide adoption
  services and establishing criteria for the provision of such services
  warrant recognizing the services themselves as governmental.
  Factors relevant to this determination can include that (a) authorized
  agencies, as in New Hope’s case, can be privately funded and faith
  based; (b) the State does not preclude faith-based organizations from
  referencing religious beliefs and using religious rituals in providing
  adoption services, something that the State itself could not do; (c) the
  State itself operates over 50 adoption agencies at the same time it
  authorizes some 70 private adoption agencies; (d) the State’s criteria
  for adoption services appear to afford authorized agencies
  considerable discretion in the final identification of the best interests
  of an adopted child; and (e) State regulations prohibit (or at least limit)
  consideration of certain facts, including a prospective parent’s sexual
  orientation and marital status, in identifying the best interests of an
  adopted child.

        Fourth, OCFS’s declaration stresses the State’s strong interest in
  preventing discrimination against prospective unmarried and same-
  sex couples. It maintains that preventing such discrimination serves
  the bests interests of children awaiting adoption by “provid[ing] a
  broad and diverse pool of adoptive parents” and, thereby,
  “maximiz[ing] the number of prospective adoptive parents.” Id. at




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  168. It also serves “to prevent the trauma and social harm caused by
  discrimination against lesbian, gay, bisexual, transgender, queer or
  questioning (LGBTQ) people.” Id.

        Should the district court determine that New Hope is likely to
  succeed in demonstrating that 18 NYCRR § 421.3(d) is not being
  applied neutrally but, rather, is being used to exclude its religious
  beliefs from the public arena or to compel (or preclude) its speech,
  OCFS must do more than identify a State interest.                It must
  demonstrate that its challenged actions are narrowly tailored to serve
  that interest without unnecessarily impairing New Hope’s Free
  Exercise of Religion or Free Speech. See, e.g., Lukumi v. Hialeah, 508
  U.S. at 546.   Should the district court consider tailoring, record
  evidence raises certain concerns.

        To state the obvious, it is no small matter for the State to order
  the closure of a privately funded, religious adoption ministry that has,
  over 50 years of authorized operation, successfully placed
  approximately 1,000 children in adoptive homes, particularly when
  there is no suggestion that any placement was not in the best interests
  of the adopted child.     While there is no question that OCFS is
  authorized to enforce 18 NYCRR § 421.3(d), the exact source of its
  authority to order closure for a violation of that regulation is not clear
  on the present record. See supra at 50–51. Thus, identifying that
  authority may be important to any tailoring determination.

         Even assuming such authority, however, other tailoring
  concerns warrant consideration. For example, New Hope asserts that




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  it does not provide adoption services to unmarried and same-sex
  couples because its religious beliefs do not permit it to state that it
  would be in the best interests of a child to be placed for adoption with
  such couples. To avoid its beliefs preventing such couples’ pursuit of
  adoption, New Hope is willing now, as it has in the past, to recuse
  itself from their cases, and to refer them to other adoption agencies,
  including those operated by the State. The question arises: Is this
  recusal-and-referral practice a narrowly tailored means for avoiding
  discrimination without impairing New Hope’s Free Exercise and Free
  Speech rights?

         To be sure, recusal and referral do not permit unmarried and
  same-sex couples to obtain adoption services from New Hope. But
  the existing record reveals no complaint from any referred couple.
  Nor does it indicate that any couple was unable to adopt as a result of
  referral. In the absence of any such evidence, it is not evident that,
  pending resolution of the merits of this case, recusal and referral
  poses such a risk of trauma and social harm to unmarried and same-
  sex adoption applicants that nothing less than the closure of New
  Hope’s adoption operation can adequately safeguard the State’s
  interests. 32   Should OCFS adduce such evidence on remand, the
  district court can properly consider it in light of the totality of the


  32Insofar as OCFS also asserts a State interest in avoiding trauma and social harm
  to LGBTQ children awaiting adoption, that appears not to be at issue in this case
  given that New Hope professes to focus its adoption efforts on infants under the
  age of two. But, of course, if OCFS thinks otherwise, it can clarify its position on
  remand.




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  circumstances, including how, if at all, New Hope’s recusal-and-
  referral practice limits the ability of unmarried and same-sex couples
  easily to obtain adoption services; 33 and how well the State’s interest
  in maximizing both the number and diversity of prospective adoptive
  parents is served by (a) allowing New Hope to continue providing
  adoption services subject to a recusal-and-referral practice, as
  compared to (b) requiring New Hope to close its adoption operation.
  These questions, like adoption itself, must also take into account the
  best interests of the many children awaiting adoption in a State where
  they number far more than the persons willing to adopt them.

            In sum, because we reverse the dismissal of New Hope’s Free
  Exercise and Free Speech claims, we also vacate the denial of New
  Hope’s preliminary injunction motion as moot. This court does not
  order the district court on remand to grant such an injunction. Rather,
  we leave it to the district court, in the first instance, to weigh the
  merits of the motion consistent with this opinion.

            Conclusion

            To summarize,

            (1) The pleadings, viewed in the light most favorable to plaintiff
                 New Hope, state plausible claims under the Free Exercise




  33   See supra at 47 n.20.




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           and Free Speech Clauses of the Constitution. Among other
           things, the pleadings,

              (a) raise a plausible suspicion that OCFS acted with
                  hostility towards New Hope because of the latter’s
                  religious beliefs,
              (b) plausibly allege that New Hope would be compelled
                  to speak or associate in violation of those beliefs if the
                  regulation in question were enforced, and
              (c) do not permit a court to conclude as a matter of law
                  that New Hope’s speech equates to government
                  speech    merely because       New York        State   has
                  authorized New Hope to provide adoption services.

        (2) This case is not analogous to Fulton v. City of Philadelphia, 922
           F.3d 140 (3d Cir. 2019), cert. granted, 140 S. Ct. 1104 (2020),
           now pending before the Supreme Court, because,

              (a) New Hope is not under contract with and receives no
                  funding from OCFS,
              (b) OCFS has not identified New Hope as a public
                  accommodation, and
              (c) the issue on this appeal is whether New Hope has
                  pleaded sufficiently plausible claims to defeat
                  dismissal, not whether it has demonstrated the




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                  likelihood of success on the merits required for the
                  injunctive relief denied in Fulton.

        (3) Because New Hope’s Free Exercise and Free Speech claims
           should not have been dismissed, its motion for a
           preliminary injunction was not moot and should not have
           been denied on that ground.

        Accordingly, we REVERSE the district court’s judgment insofar
  as it dismissed New Hope’s Free Exercise and Free Speech claims, and
  we VACATE that judgment insofar as it denied New Hope’s motion
  for a preliminary injunction. We REMAND the case to the district court
  for further proceedings consistent with this opinion, including
  prompt consideration of the merits of the reinstated preliminary
  injunction motion. To facilitate prompt review, we ORDER any party
  wishing to supplement its initial preliminary injunction filings in the
  district court to do so within ten days of the issuance of this court’s
  mandate. Any appeal from a ruling by the district court on the
  preliminary injunction motion shall return to this panel. The limited
  injunction entered by this court pending appeal shall remain in effect
  unless and until vacated or modified by the district court. New
  Hope’s June 18, 2020 motion for this court to expand this injunction
  pending appeal is DENIED as moot.




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